Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 1 of 20

PEOPLE
FEBRUARY 26, 2007

01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 2 of 20

Case 1

AE, 2002 '9z 4emqey aTdOgd

@ umo Aw YL
aLOUL Op 0} Ol Saridsul j] pure ayy] SIy UT
auop $ay JeyMm ves |], ‘shes ays ,qoudui
jeaiZ @ pey say, ‘6g ‘Yous ery
Oy]] S]UOPN4s WvalysuTeLU sayoes] oy
alayas ‘olpnys s1y pauado puojues ‘ote
sieak BAL] ‘2661 Ul A]I[l9B] qeyos 194
U9.) a8eln0’) ssodeauuly ye syuap
-NYS po[qustp 0} eso4 Fulyvay pajieys
paojues ‘[neg pyo-dead-z jo layyey
DY} ple ‘Tp ‘sa}Iwuar O} polieW

spuedxa mata AU
‘a|qtssod s4am mouy 3,UpIp ] sesod e804
op ] se yng, ‘shes projurg ,'aBuryo
},USdOp JeYI—pueBy Used s,dJI[ AJAL,
“pueq piemioj Ja]-op1m pur ,)¥0q,,

ayt[ sesod jo suazop pasojseul sey
ay—spury sly tum Uogiwod OfUL sda]
sly saoejd sy—aouveq Jo asuos & pue
yyduolys wie suis; ‘Apog siy jo aleme
Alu 3] 9J BY ‘JUOWOAOU! poyLUy sty
ajtdsap 384) padjjou put pip a} ‘mauyx
ays Layoea] edd & YL JaoUl P1oj
“UBS pajsasans ysidvsoty] odvsseul &
stm OY pudly & BLU JI punoly
Aydosopyd uy s.10yseu e poureo
pue sopei3 do} yyus adaj(oo woly
pejenpeld ay ‘purut sty uo Zursns0,7
«punoie Apog Aut passeap J ‘s1eoh
B| 10} ‘U9Y}, WayJor 4apjo Le sey pue
“UULAL ‘Iyn[Ng ul dn mo18 oum ‘pso}
-uvg sdes ,'ply 0/79] \]u A49a & SUM J,

2A male

ON|LUOIDS Adar Aq tydusboroyg

‘Apoq Jaoj sty 793.10] 0} sotape Buyye7
SBAP S1OJUP ILM pa[ssr1}s ay ‘ssoy
oY} Aq paysn4Z Jo}sSIs JOp[o pue sayqey
STt{ POTTY IVY] Ysead wd & UL pateaas
sem pico feulds sty way ‘g1 72 UKOp
ysoyo oy] Wooly pazAlered— |p ‘proj
-UES UY} Jayaq Jey} SMOLTY DUO ON,
«OUI 8 Ye ATi] B Uaddey su
[NJAapuoM,, ‘SseTo ay} Bu1]]92 ‘siap
~[Noys pu syoegq sisn[pe ay ‘mod o} MOL
WO1j SULA ‘sds at , "BBO
Op 0} spult nod aredoig,,
“peoye yysiens Sunutod
sfal Ut] SIy ‘Jew e OJUO
SOpl|s plgjurg mayne
‘s]Uephjs uszop e gure

RO Cae ELCs ae Eta Pain|
Pe cL eRe aU CLY
BU DE en CLcEE GL) oe

¢

WOY WIE]} B puke yUaWA}}a¢ UO!

“OUT WU JE LuOYt Japisuoa Was

UNOD sup paaraze: usay sAey Jo gy
puu sagy sAowonE Jo} uonow au) pue awnbope pus ‘oqruoseos
SI 1UaWa|aS - posodory oy) doylaym saplsuvs o1 “urd 90:2
W £007 ‘GE Amp uo Buuus}y [eaowddy peut & play film Wor dL
Aquawajyas pesodosy ay) aAcuddy Nod BY IM

“WMaldaHay UCL
sSyupt pasodorg Jo avon dU) Ut paulpho sv "207% aUAY’ ULIN 191k]
OU payseusud puy papteul sf yetp Jona] B puas ySNW NEA yUsWItUOS
Jo ya0[qo 0}, ‘sosunvd apnyoxe iow op nok Jt 1 Jo Lund owos Jo
juaayag pasodo.tg Sip axl] JOU Up NYA fy UNOS O4) {]9} UBI NO «

"2007 ‘£7 ABW Wey tare] ou paxavunsod oq Isnul sonbas
ANOA, ‘MIWEpaY UUUY SsvIZ pasododgy fo v-iey dy] Uy paulpno
SU LUOJ UoIsNfoxs| 4v.] Isaiiboy BUTTS ISHUENOA “SaSseyZ) PUaLAAITIS
ay) JO YOY JO JOYyIe JO Ad jUaW # Vy OF YSEK JOU Op NOL Jy »

“2002 °87 A¥JA UY] J01R| OU payxseUMsod PUL poUdTs oq isNUL
SUO,] WIE[D “OHS GaAy UOWIPWIG HSH 341 uo ayyv}
“TOQUINU OAf-[|01 AUN HI

YAW OSL SLI]
po Ay JU “MO]Oq UALS SSOppe Sup 18 “una
ap Zunsvyuus Aq uwta,, 13 v 1d ues
a[duuoo IsNUL NOK ‘MAT LD & apy OF UYsiAr HOA JT «

nog, “WU.} WIN.) e 3
quaWayyray ayl Ay pa29A00
cue WP WS Isulede savy Avwr nod swtUlo Aue doyp j[la\ NOX sua
SLL “Suapao §,UNO>D aI [Te Aq pung ay Os{e [fl NOA “WOLUOMDS
pasodouy ay Jo sijauag Vy) 9A19901 [TIM NOK NUaAapTay pasedaig
oun soaoadde unos} ay) J) “mOaq possosTp SB UUIeIO B ally ITIL
NOK pun.f UOWOPIIS otf Ul oFeYS OL ing, “Bury)AuL op or Daey rou Op
NOK 'sasselc) WAWUa[T}ag yjog JO JOQUIBU & UEUTAL OF YstA HOA JY «
ésqysty 12337 AW aly UM,

‘sasuadxa pur saa) s AWOye

Jeyy Joy aqisuedsal oq yim nud ‘JOAIMOH Mm NOx Jb ‘AWOL
ua suud am] ACLU MOA ‘sosuadxa ju sueWasANquto! sad ‘puny
Mawamas pesodosg aut Ju (MBEE'CE) Wosad pulyy B puR daLlp-ALLIN
povdxo 0} JOU sao) SABO pavare LUZ) OU eI IaNbor FIM jasuny:>
SSUE) “Sasse]d op qudsoidal o} sauce pasuredda sey win0D WL
Jaw sjuasaiday oA,

“spuny JUOWIOg ot
Jo uoriod B 40) gt) ULE SUITE] 2191) JINDs OF paawE avy OYA
GSdHS1, 19 SULT YIea]) Suipyag quapuodopyy,, oy1 se o7 paLayja.)
saudtg Auug-pmyf jo dnord 1apuadapul pue ayeivdos v jo syoquiow
Que OU SIAINSUL JALIL ple WWIL|d p)]va e Hurqas OYA SisqWayA] SSUID.

Papnyjouy ae (SAja}Y 41BUy 10)

(1A0]3A0y) XBLIAOZ

(a}21L] BUIq\a1OUIA) BUIqaAeN

SLLUISNHOVSSYA JO LORLSIG

OTHEE TJ UDO Wed ISAM “E4742 XOG “O'd ‘SUOLIN|OS W)e}D ayaidl
WOIWAWA]YESISO' MAM “SIA 10 (joURdsY e}qeH 9S) $792-89S-BBS T 794-1103 112)

(ueqd)syeWNS) xasjt Uy
JO (Joxayngry) uowaA (DH UOJaSURPUC) SAO UeYOZ (19H UoNjasUeID) Sa}qeL 1HIAy
(@U!PNAOpIZ) sAOQaY

7 0/3 UOJRNS|UIUIPY HOES HT dANY NSD “IM IO

Dy SSE]D pasodold JO ar!]0N B 104

Josnsut jo sures ay) Aud 01 Optse ros oq [[lm puny Buturewos yy Jo
(404) 1ud2s10d Ajuoaog ‘“SUaIU}S pryya DYE Ol SoWUINSUVD 07 YSLD
UL paNYLIsip oq j]ln puny Ainurewal ay! jo (4,Q¢) wooed AU]

“SIOQUIOJY SsBjD 0] SUONNqLysIp

ALOJOY PUNY 1UIWII|NIS Bt|) Woay payonpap aq [[lA “WoUsNIS
pasodosy ay] BuLastuUpeE Jo siso9 IN pur saay sAoWONE SE tem
Su ‘[usouad sXousolly weIS UleLteo oO] IMsWIAEd GOTT Spgs V “S|
palefad soyjo pue osoy2 dynos 0} UoT|IW Q/¢ Aud 01 poode sey 1S
dqaWAPYES al} JO SWB] BY) Bly JEM

uawAud-o2 wy 10 paxy @ pred nud 41 sse[p ot ur
papujaur you a,noA uauALd-oo odeyuaaiad r sem juauUALd JNos
(q) 10 "oYDod-Jo-)No juNoWE f[Ny aUy Loy (B) sem juowAed sNEA

Bat youz ‘U| wusny 01 166) “1 Arenuey

WO) ‘EH BvOIpaJA JO OptsTNO sauqu past] SBC] pasoao7

MSH o1p Jo Aur 20) (Aed 0) payedrgo Apuouno ase Jo) pled nox,
it ssep 40dug oWaLid Oy) JO JOqUOU B aur RUA 6

‘suuawded-o3 anok
SVJ [[NJ WE pasauyuurat 9q 01 IYSEE oy] DABY JO PasaNgUtol o1da1
nod J0 ‘suawALd-u2 yey apeul nod Jt see] $14) WoL) papnjoxo
aR NOL “SOOT '] Atnuey on 16H] ‘| Arunavs Woy (ruowWARd-09
B YONS BpuA On BUVdWOS 0} MOL] Ue UF Jo) sAUqE palsl] SsUQ
PIoAOD ASH sigh Jo AuL sO} gq Ue Bealpoy sapun yusuéed
-09 aduqosiod Be oyBU O} paleSyyu AusLNd de JO ape NuA
YE SSUIZ) JUDLUALA-OF BTBITPI|Al 24) Jo Joyo BOTY HOA «
“DAQYY Pasi] SHU pomaA0D YWSH
OY) 10] pred oy SuaWESUYD [LMPIAIpUl JOY Sasse[d-Yns Om aU VST L,
isaquiay Sse|D aly syENpIAIpU] JEU,

“Bwup oy Joy syuotuAed-09 apuut so pied
coum ojdoad oWos Oo; saZeurEp AQUOL PIUME Oo} HOD AY) Syse Tnsmaty
BILL ‘su9INSUL puL stoutnsuOd "oroIpal Aq pred awe ely saond 3rup
uondyosord tos 0) pash uayo ue Sy povodas oy], ‘sZrup apudno
yo soudAy urenao JO} (gd AV.,) Sooud opesojoqan aFezoaR pareljurr
pue osjuj pavodal sorueditioo Srp urewed jeyy SUBS yNSMe] OY L

dynogy WASMe] LO|IY SSID BY) S| TEU

“OSP1 ‘ON IGW ‘S£ld-£$221-A9-10 “ON 194900
‘UOMDSIN] 22M apusajoy,, veviaay Cusnpuy jooynvovutivyd a4
Uj SL UNL] Oy) Jo dtURU oY] “sMasnyoussulA, JO FONSI] Ip 105 UNw:)
Turpuod insme] vonoe ssuyo e Ul suRpuazocy dtp Jo
QUO “(,ISD,,) MUP YNwZoxe[Ly Ulm JUdWOTIS posodorg ust oll

sauepyauag g Leg ale2i|pow

*S]YBIY ANOA Jay ABW JUBWA}eS UO} Sse] pasodold y

(ulxo8!q) ujxouey
(ueynsng) uealAyW

(uRjeYydjaw) uBJay
40

CDH UoujasuepUC) 3)qe}39/uU] UeyOZ
CDH UoNas|UeLD) ayqezoa{uy py
*SSMIQ ASD ay} 10} JUaWAeg })NJ 10
juawAeg-0) ase}ua2Iag & aYey 0} payesiqo aly 10 apew NOA J]

—LUNOD LORILSIC, SHLVLS GILIN(}

DOMON feta]

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 3 of 20

PEOPLE
MARCH 5, 2007
01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 4 of 20

Case 1

STRES Y AUshag mae I EDLY? YOR “Od RELOS wWyYEY agapdany OF UYU ESA LAV SO TMA AO
go BAO LC] ae] SH AE OE BSEY j : : WOT LUBLEN ASUS S Matas TISIA 10 (JOURAS3 EPGeH 9S) $792-895-GH9 1 *994p-7307 HED

QOOK Bat SALI © JO PLE PERL
BIL T
qe feyareea

{04 LUFET) B pur uawa id JO SD1}ON B04

paul
AALERNTS pevodad

fa fF OLY WRG SATEIETY Spe at oy 4 ee
“1H WO IED Mod OPHODA WEIS YR LOR f Spamupeee any, 2B
PAGURL Sy Pie § Pad Ag 20) pagong-s99 : : ‘ ° ‘ CARS 4] 70
“HIER DOG TORE 3 L} HinYD # ENO Sat apouwoyd dpay [yea Ags + : Re 3 ee eS 4
ay UO Bure 10 WBA PIOVER, OF BL ~ADPEASPA IRE WAG ys SEMEN Apeatee: Use HALEP USS BAY
aa} prop nes © Bajapeb ‘Anauten © Gus sana O44 Lt Gea 40 ShAIANSA] ggg Ha. i . .
. nah [enh annd aun ‘dey Seg) ay) Beqng noKES anu carey 2 ‘ SAOTE NENTS

BSS Be Jeapaady auoeuraye] 2 AREHD Ke FPL EO OY Ula, pt a aed FF
ECT AR) Ueyh Pastel Hes pea & SNYR ET y x i
“WBS BBL Ayiieg SvLD:

3

SA MAT YE SOMITE 5

O05 euoAEg aul ye spesazes ays UO YDdUN, Jay Bursoy lu pue-—pid jopy 1aq wingge
Buswoodn Jay vo saysip arqmau yy SN pue dineuD papy weanauy jeurbuio aul

NOS YVTD AT13>1
HLIM NNSLOHS ONIGIY

SEL MUU BLEDSOE O85.

SAU RS ASPeRRR a) opie BAAS JE i
a Stapleyy (B54 AN ary Lean,

PAG SO] QOS OL SERIO 8

EQUA SET) auiy SIEM PANTTA ELA,

Digs dpa’ save 04 03

HAE See}
SHOT CD OS

! Popny uy aie (Sa8} spoiy 10) SAUBIYaUAG g UeY WeNpay

: “STYSTY UNO, Hayy Ary quaweasjas Us! oy SsEy) pasodaig ¥

COSI} UINCUL

CPUC) MEIN {UR yewWkS} LANE Qungnsng] uBsapAyy
Jo {jQeazagyy) WyONwIA OTH HOUESUENUN) SPO UEYOF CH UONASIUESD) APQeL WAY

{BRIPRL obIgqay 1 ASIGTEAR A] OE? | MAGLI fle[Rugyeyy) aasaypy

(13H UoujasuEpUg) aquysaluf wesoZ :
(19H wasas) ey} apqeqzaluy WAY

ISSMQ HS Sy} 104 JuaARY ]]N 10

BOOS py

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 5 of 20

READER’S
DIGEST
Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 6 of 20

“€€¢

: SCIONARY NVG AB QSivuLSNT

Spalted *prayuodg |
‘ZAHONYS BON "
«éSninesopeydaodyoed. |
'” &es nod ue, -uos
Aud pres ,/euaaq,,
«@elloag
4es nod ued, ‘pres ays
«BU9aq] St aureU APY,
‘sureU Joy
oy rasuassed rayjoue
Peyse ay pue ‘sng ¥ uo
SUIPII o10m om Atjuasey
“WHEY Yita. passasgo si
Plo-2e94-sary) AW “But
~yeUuLOsEy are SHOVSONIC

PIWIOWED "EISIA FINUD 'SUVZNOS NYAE «iZS JO Jno

Lp 212M, ‘paumny ays 2724} 2AaT19q NOA Urey,
'S21835 ISOMEUIS SUOTeU ay) Jo IST] & UT Zp poyuex
SEM EIUIOFTED Jo 27238 autoy Ano “samns Wael &

' UL JEU) peal Pays ‘payseS1oqqey sem anana AAI

Qa eee,

=

PIUIBAIA ‘IH PunoY
*SNIAZ179 NOSYr
«Aled apeyy
sajqeL onbuuy, :sauoy
Teorudd sjr 10g paatwpe
aq 0) sey UMO} BIUISTA
[feuls b UT NO5IS V

eee a
Sexe) ‘UOISNOH “LUVMALS 443¢
«dns Y8noo auros
Hf 8ATD,, “YOeq payreq
ay ‘W29I9s |Y} Yo sasa
STY BUIYe} ON ,,ja1ay
ut 4yasiog k s,a1ay)
-‘urtf;; ‘WayoIny ay} wooly
PeYSAYS Me]-Ut-Joy}OUL
_ Aur wey ‘oureg 2 3ut
“YOeM atom am AEP 3
* ‘AL wo are speulpiey
SINOT “IS oy} usy AyTeIO
-adsa ‘MAE]-UT-aqey
AUI SYLLIVE ONIHLO

t

. pasodolg sty ayy jou op Nod Ft p1NOD) Bl {[9) WES NOY »

€ 14 yseag Wed SEM ‘Et/7Z XOG ‘Od .
‘suonnjos wyerD arorduioy 0/ ‘10,BIS]UWpy ies) or iS eee qo.)
SSO'MMM ISI Jo (JouRdsa E]GeH aS) S79/-89S-888 T *
WOT UIWI]ISNSI MMM SIA J ul
“04 WHe}) B puke jUsWI}eIS UO! Sse] pesodold jo 221 0N P04 one
° eredas 0 sJoquist are OYA SIOINSUI JOUR T eA
a ery suonaatqo ‘fo syuoutio> a sasuedxe ie soot e mugns ou SIOQUIAIA SSP[D JOINSUT Jo SUTTEIS op Ked 01
uaaq aA noel

sXawoye JO} UoHOW oty pue ayenbape pure ‘ajquuoseal ‘ej SI Opis? JOS 9q [TIM puny Suruneniss 2th JO(%0L quaosad AQusaa
TH id 1 00:73? £007 I JALMSUCD 0) YS Pel
quoMees pesodos, ‘Up JOUeyM JapIsUCS 0} “UW d ye SUUTB[O PITA OyBt OYA ST BO UT nquysip

ad &:
‘gq Ame wo Sumeszy peaosddy eons e Ploy TM UND YT, oq [lM puny Sew: amy Jo (%E) JaoIEd ALT,
- “et ATM T k

“SIAQIUOFAY SSEL 0} SuUOnNgINsIp alojeq puny
JuaWIOPIas ot} Woy psyonpap aq [TIA YuewWelnag pesodary a
SuLaistuTUpE Jo s1S09 amp pure segj ;Sfowoye se [om Se “Te=19)
sfaltlony a1ig Unico 01 JDewAed LOTT CHF y ‘SUTTEIO poet
JaIpo pue ssarp apes 0} vo Q7$ Aed 01 poaiwe sey SD
2uaWA} HES 243 40 SULA, DYI Sty JEU
“1007 ‘Lz Se wey Jaye] quowiAed-co ey 40 pexy ‘1 pred not z Se ou epee
od qsnur sanbor mo, ‘1uawapiag uoyIy = youLal, NO, “aunked- 008 a ee tomted mo
ou oo rotor 70 2080N OU} Ul POULTING se ULIOJ UOISN}OXy 10 ‘yaxood-jo-1n0 sanot ww FO Oe oa
Oy bo ¢ asis isn nok ‘SassBD pusmiayy25$ 3y3 pure 9002 ‘OT 3s! 8 Ww eo eral nalon> MISS
yo tog 10 « ‘ aul B aq 0} SLA JOU OP NOA Jy « atEoIpayl JO opisyn og tal SBaucT pasar 189
JO YjOq 10 Ao {9 Jo Joqui AeA weip sae} ou poyseugsod — atp Jo Aue 103 (Aed 0) pave ago ne Fee eae are ak «
usis 2 sien UNRID “ONS Gay TUSWApIS a svi), Jotea ead eee Bua,
sO ant rae A OST SII] ‘Joquinu say-[[0} tp uTTTeO —“sluawAed-09 of ru} Pasig 99 OLB
ASD ay uo aIg ee 2 otN 2 “SUDA UTIOIBYSMMUIpYy — @ARY 10 pasinquital 9. ae eer tenet
ste Samp aumoe 09 Aa UNO, WIELD B OF URINOA “UOJ NOT Sse Sip WOH pa 8 xo ane NOK “soge T Aenmet
nel e aaideu0o 0K qurep B 9[y OF YStA NOA J] > 01 1661 ‘| Arenuer wog G ne
MBID » sratsiuoo Isak suawamias ay Aq Palonoo ame  aUOALIOS 07 MOY we are 40) 2409 pa Hcl pasato
Se aaey Aut nok susrejo Aue dosp ja nok = YS sup Jo Aue soy g wed areaIpan Oe a opeunon
SURO SM, 59 10 sano) all [re Xq punog 29 ose [TM a8equacuad voyeur 03 paredyqo AD aly JO JoquIOU! Bale HOA,
ROA, “WWatamag pasodOn4 aly Jo syyouag ay oalacal [TIM = SSBIC) womaeaeo amp ane CT ey oad
* swUaHE9 pesodorg ain saacidde nos sup JI “MOTE a ot re Oa aay ae Sei
passnost e aero @ ay isnur nod pung 3weWaTNeS oN OU srauunstiod fe res ory SenpeipU eR
i Sng ‘BumpAue op 01 aaey jou op noX ‘sasse[) estaquay Eee eR uonsed
HuOUIOR 3S 0 jo B UfeUwtal 0} STA N04 FT + rep p01 auuked
es Sie 1807 AW ary EU, -09 apeu 10 pred ous afdoad autos 01 ep Aouous
ésqysle | ‘sosuedxe pue preme 011IN0D) an. Syst FIMSMe] a oe Sroginsuoe
; MA nok ‘Jenamoy ‘areotpayy Aq pred ore yetp $01 nays
“yst ae nh erp 209 atassuoes aa ee Mo, ‘sasuadxa pasn uayo are Sd, PoHOEST a ae dane ea en cn
9 owas unol snjd ‘puny quauta[nes pasodazg oy] Jo ume90 10} LAN an Fe an rer INSEL
ta eee0) ileiad IIL B pue samtp-Arsiy) pasoxe 0] JOU sso} asyes pouodau sore a wes
(mEe'EC) ee ay uy yonbas || Jasunog sszjp eynoqy yNsMe} M oon
Shoutone preme Un0D ap odde sey 1n07) aL, “ON“ICIW SEd-L$ZZ1-AD"10 “ON Jeyv0C ‘voNDs:
ee ONS suabaide 1 OU " bony SD STOUAL a8vaaay Cusnpuy pooynaovuLsDYyd
even 1 Insme’ WRU sp ‘siesnyoRssey
: [ oy) Jo 9 \
‘spunj JUSWapasS Oy JO /a4 us ST Ut Fo Gein on ul dupe
pooude savy Jo 19NSIG otf 10J NOD IOLNSI .
OO ND a neon Suynog: opuedaput, om yMsanv} UONIE ssejo B ul slUBpUazod mond 2 (ois)
P01 i ES ee oa oan quspusdepuy pur sUITYMpUISOXe|D YN JUeUteTRES P' 1
papn)du] aie (Silay Jat} 40) SAUBINYouEg g Wed oveoIpoW
“SIYSIy Ino, Payy AeW juaWaTNES UONy Sse]> pasadold y

_ (uUyx081Q) UKOURT

guawiayyjag pasoderg ayy aacuddy 710} 343 LA
‘quawuapnas uoyry ssD{D pasodoig fo aONON om
ul pauipno se ‘2007 °ZZ BUN Met) Jaye] OU parounso pue
porreul si 3eUp Janay B puss ysntu NOA uaLULAOD 10 39algGo OL,
*yesmod apnyoxa JOU Op NOK JL Jo wed oUI0s 10 JUaWATIES

ugyjnsng) ueseyAW
(ue}diyeuns) Xe2gNW] ( wis)

40 Sev wonton COH uosesuepUug) S}EIQ URYOZ QOH sno eeucro aL a
(R]e2peL cnerours) SuUlqaAeN ‘ (@UIPNAOPIZ) AAOd}OY

10 (1H UOsUpU) a1geI2e/U] UEYOZ (7H UONES|UEID) ayqey>aluy Ay
:sSniq 1S ay) 40) UowWARd YN 0 ol
yuawiAeg-07 aSeyuarieg & aYeW 0} payeSiqgo ay 10 apew Nod J

¥SSVP AO LORLLSIC — Lun LOMILSIC SALYLS GHLIN SonON, ye8o" 1
onON Teas I SLLASNHOVSS' id i id
Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 7 of 20

SELECCIONES
Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 8 of 20

OLHEE 14 ‘Ydeeg Wed ISAM ‘Et7Z7Z XOg ‘O'd ‘SUOIIN}OS Wie} 9ja;dWO0} 0/9
JOPeSIUIWIpY UONESN!7 dANY NSD “2 eqisa O
WOD*}USLW3] ISSO MMM *OHSIA 0

(loueds3 e)qeH aS) 792-899-888 T ‘Je OUNZ}e o81e9 uls aweyT
owe]29y ap OWe;NULIOY UN A
PAI}I9]0) epuewag e} ap o}Sandolg Opiandy jap osiAy uN Bled

“peprunuodo esa us RABIOpPISUOD SO] [BUNQUIL, [9 ‘souorselgo n soLteJUSWIOD OpIqioaa UBY 98 IS ‘sopeSoqe
ap sojses A sonrejouoy ered upionad | A opendsape A ejqeuozes ‘ojsnf so ojsandoig opsonoy |9 1s Jesepisuco
ered ‘urd Z se] & 2007 ap ON! ap GY [9 BATIULJOC] USIORqoIdy sp BIOUSTpNY BUN PIeIqg}99 [eUNQUL 17]

Zo}sandolg Opsansy jo yeuNg}11 Je Eseqoidy?

“pAYIIjOD
vpumuac 0] ap o1sandodd Opdanoy jap Osiay Ja ue vol[dxe as OUI0D ',.907 ap olunf ap Zz [2 Iepre} seu e
astefjaseyeur A 0al100 [2 ua asreyisodep aqap aonb ByIeo BUN FeIAUe aqgap ‘IE}UaUIO O Jeyalqo Beg “oANjOXO as OU
Is OlUsTU [ap coved euNs[e Oo Oysandoig Opasndy 9)S9 BSNS a] ou anb jeunqLy fe aap apand pays) «

‘L007 9p OAvUE ap 27 2 JEPIE] SPL B epEljasejeUl 1eIsa oqop PnITOT[Os ng
‘DAYIaIOD DpuDUa(] D} ap Olsando‘g OpsaNndy Jap OSIAY [2 Ud BIT|AXS 9s OWIOD ‘UOISN[OX_ Op PNYIDI]OS op
Ole [NUIOY UN JEWY aqop ‘OpsaNdy [ap Sasei_ Sel op EUNsuTU o BIIMbpENd sp o1quiemu tas a1aMb ous «

“L007 2p
OXBUL ap BZ [2 JEPIE] SPU & SOPETOSEIBU A SOPPLULIL Ie]so UQOp OIE [DAY ap SOLIE[NULIO,J SO] "YSD op
Opsanoy [OP GoM ONIS J9 ua a[qiuodsip v.Quanoua as USIqUIBY, “O]ITYRIS OLOWUINU [2 OPUBLUE]] O ‘a]UE[Ope SPU
Borpul as onb ugTasaNIp BI B ‘SOWY[IOX Op JOpeNSTUTUIPY [2 UOd O}LS9 od ssopuROIUNUOS OWE[SY Op
OLIe[NULIO,J UN JoUANGo opang ‘OWe[Iay ap OUIE[NULO,J uN Jeje[diuo0o aqap ‘oulepad uN rejUaSaid BasapIS «

-opronoy Ja Jod oyrorqns 9389 nb ygH eBAUOD JoUd] epond *
onb ourejoal rainbyeno presnos onb n00p aioinb osq "[eunqly [ap sauapio se sepo} Jod ope31iqgo wrepanb
ugiquiey, ‘oysondoig opranoy [ap soroyausq so] PlIqioal poisn ‘ojsendoig opsenoy Ja eqorude jeunquy, |
J2 1S ‘aIUE[ape sy eordxe es OWOd ‘ourE[sa1 uN AejUaseld aqep ‘opJonoy jap opuo.j Jo mMTedwos ered [
‘oSIequio UIS “Bpet IadRy-onb auay ou ‘OpsaNdy [ep sesejD SequiE ap o1quiayul Opuats Anes vasap Is +

ésoye8a} souzaiep Sil UOS SajeN}?

‘opedoqe aso ap sensed XK souexoucy so] ep ajqusuodsas pias ‘oSIequia ug ‘opesoge ordord ns eB menu.
apand pajsn ‘vasap Ig ‘sojse3 op Os[oquuaal [op spuape ‘olsondo1g Oprenoy [ep Opuo,] JEP (% EEE) oIUSIO
od o1o49] un £ say A RUAN [ap UpINpsoxe ou anb sopesoge ap souvioudy ano10 onb yeunquy [e upresloryos
9] SASETD SE] Op sopedoqgy Sor] “sose[z) se] B udjuasaider onb ered sopesoqge soun v opeusisap ey FeuNqUy, 1

gejuasaidal aw uaing?

‘oplanoy [ap sopuo so] op awed ap orquied B Y¥SH
BQUOS sowEosI sns Je[seLe Opepsooe uRY aonb (SqHSI - SURI WTeeH BuIpies yuepusdepuy] opsonoy
[2p Seeg sojuetpuadopul pnyes ep soue|g,, PUT] SO[ 9S) SOdDIE], sosopeSeg ap oIUeIpusdeput 9 operedas
odns@ un op sorquionu uos onb selopemsase seno A opTRA oulzjoos un Uejuoseld onb salopeimBase ose]
8] ap SOIQUIOT] Op SOULE}DeI SO] TeBed ered ojURySeI OpUO] [9p (%0/) Owe! JOd wiuslos PrewEde ag ‘sOpITFA
soumejoai uajuasazd aonb sazopiwinsuoo v OAQOaa ta ajue]SaI OPUO| [ap (%0€) oytetd Jod eyulaN BIMLNsIp eg

"aSeID B] ap
SOIQUIAIIA] SO] B SOUOLONGLASIP sei op saque ‘osendoig Opsenoy jo Jensiunupe op $0}809 so[ A sopeSoqe ap

‘] souezouoy oulos jse ‘sore ejsq saTeialiad SalopeMoolg Soualo B SOUOTTU Gpg 10d oSed un opsonoy [ap Opuo,y

1p PuONpap ag “sopeuofejar sourE|ae1 SONO A sojso rejzoure ered sauojpiu 0/7 $ seded opepiose ey MSO
Z0piansy |ap SOUIWIA} SO] UOS SajeND?

‘ofy oSed-oo un oziy Is ose[D ey Ud OANIOUL 9] 9S ON ‘TeMUeolod
oged-oo un onj oSed ns (q) © ojfftsjoq ordoid ns ap opesed ojajdutos oyuou Je Jod (e) ony o8ed ng

% 9002 ap osose

@P OL [9 BISeY [G61 OP O1aUS ap ,[ Ja Opsap ‘areoIpayA] sp gq ole e| ap BJaNy eqLUE spu UoIpUI as onb

WS) op sousiqny sooruuy, so] op esommbyens od (resed ap ugioes1[qo ej suey susWeNIDe 0) OSE
‘IS SOPBALI SalOpeseg ap as¥{_D 2] 2p O1QUIOTW Sa pays—, «

“soded
-09 sns ojajdwioo Jod uasjoquisal 9[ as anb & oYdarep [2 BUST} O Ysfoqtusas 9} as o softy sosed-o0 ozty Is
ISE[D BISS ep BANIOXd 2] 9S “SOOT IP OLAUA Op o| [9 BISPY 166] OP OJSU9 Op QI [2 apsop (OSed-od fe} OZIY
anb uaind|e ap olepozay S29 0) eqLue seu uesiIpul as onb y¢H ap sooIqn> sooeULIE,y SOT op wuainbyeno
Jod oreoIpayy op g oueg e] Ofeq enjusosod o8ed-oo un 1a9RY ap UpIOeT 1G By SUaT) SJUSUIPENJOR O OZTEY
‘IS alvdIpPIA] op soded-o-F ap asvj- L] Sp OIQUIOTIL SO pais~) «
“eqLue spi uzoiput os anb
WSO ep sopaiqns sooeup.y so] 10d uosesed onb sayenpiaiput solopraunsuos sol ered sasejoqns sop Aepy
£9S2]> 2] Bp SOAqWaIW UOS SONpIAjpUy ANH?

“ODBULIVJ [9 10d soSed-o uolalsiy o uoIeBed onb seuosied seunsye e eLIe}OUOW UOlORZTUWapUl
angiojo [vunquy, [9 onb eO1[os os ‘epuewop eB ug ‘selopeindase A solopluNsuod ‘oreorpay| Jod
sopeded uos onb sopeyacal soseuLry ap sorsaid 1e09;qe)so ered OpNual B URSN aS SOPPULIOJUL SGA SO}
*SOULIO]X9 sojuatord ered soorUEy op sody sopiaio ered sopeyut o sosyey (,.d MAW - S2OLd afesajoym BeJoav)
olpewioid svisuoAeU soldeid uoreUUOjU! seongoeULIE] SeFUedWuOD seLaIO aonb e¥are os ‘epueutop e| Ug

22A}}93]09 Epuewap e} eye13 anb aq?
“OSbl “ON ICIN ‘SAd-LS7221-AD-10
‘ON 1oyD0Q ‘uoNDs UIT BILL ajpsajoyyy a8viaay Casnpul jOUNaIDULUDY [24 Uy SO BPUBWAp B| 9p uquoU
Ta “‘Suesnyoesse Op OULNsIQ jo wed soptus) soprisy so] ep OLASIC] Op JeuNQU, je ua sJusIpuad eanaa]oo
BpuRUlop wun Ud sepepuRuteg sej ep BUN ‘(,,.WSH,,) SUIPYUITISOXe[H uos oysandoig opsonoy un ABE

(sosapasay sns 0) a1e21Ipaw ap g ayeg e} ap SoUe|yaUAq UaAN}DUI aS
‘soyralap sns se}Dae
eLipod eal}29}09 epuewap eunN ap o}sendolg opiandy un
(uA0}2/9¥) KeMAOZ
0 (josang)y) UNOJUSA,

(JDH UuodasuDpUug) S2]219 UBYOZ
(ou!pnaopiZ) sA01you

(QUIG|aJOULA Ap 0}D1]4D]) @UIq\eARN (upjinsng) wesaAw
(oulxobiq) uixouey — (7H wosasiuosg) yuyAy seyysed
(uD}GLIDUINS) xaauu| (upjofjay) uereryy

(13H UosQesuepUC) 2)qe}9aAuI UeYOZ
(19H UoxjasueID) ayqeyaAut jLyAy

23S SOJUBWeIIPaW So} Jod o}3}dwWI0> osed
0 yenjuadiod oSed-o un JadeY anb aual} 0 OZIY IS

SLESNHIVSSVYY 3G OLILSIG| ~ SOGIN{) SOGVIS SOT 30 OLléISIg 3d IWNNaldy

Case 1:01-cv-12257-PBS Documen t 4395-3 Filed 06/22/07 Page 9 of 20

SPORTS
ILLUSTRATED
01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 10 of 20

Case 1

“OIL JeIp 2 WloU] Joprsuod TILA
lada2 Usa savy suotselgo JO syjuauRUOD J] ‘sesuedxe
put saay sAawivye 10) uorow sy) pur ayrubepe pur ‘ajqeuoseas
‘uey st wuowlo}ag posodory at) J9YyOYR JOprsuos oy ‘urd 90:7
1 2007 ‘61 Appy uo Tunvapy teaouddy jeulyl e pjoy [ja unop aqp

gquaWayas pesodoid 843 BAoaddy yn ay) HIM

qunoz) ay)

“HUTS UOLIY
sypj pasodosg fo souoy au) Ut paulpiny sv *Z90e ZZ BUY ULY JaIey
ol poyreunsod pur popleur st wip Jano] & plas ysnUE MOA ‘UOUTULOD
4o yoalyo of Yylasinos apnjoxe jou Op TOA yi i 4o pd aos 10
quawa Neg pasodoy siyy yf] JOU Up OVA JT L.AN0; JY} {31 WED NUA +

“£007 ‘27 Ae, Uetp say] Ou poxseusod aq jynW Isanbar
MNO, “JUaWAayIaS KOyIY Ssvi7 pasodoss fo avon sty WY pau|pno
St Ua} UoIsn[oxg Jo,f isonboy e UTIs sntU NOX *sassUtD JUDAS
ayy JO YO 10 JVYYI2 Jo saquuaWa & dq O07 YS Jou Up NUK YT >

“L007 ‘8Z ABA, WELD J91U] OU paxLeUNnsod pur paudts oq sw
SULOT UITE[D ‘O'S Gay IMAWANAG WSs oy) uo o]qepeag osTe $1 I]
‘TOQLUNU seY-[[0) ay) TuTTED Aq Jo ‘mojaq uoATs ssoyppr oly ie ‘SuNWA
uw ur L Aq wo WD & 3 UL
hog “WHOL LuTeIS) B o1afdwos wns NOK ‘uyeTD & afl} OF YstA MOA J] «

“uamgtes ain Aq parsaoo
ore WI ASH isurvse oaey Aww! nod sturelo Aue doxp Tm nod sueow
SHLL "Mapse Sunes ay) [je Aq punoy 2q osye NOA "JUBW2|NES
pesodoly al) Jo sjijouaq oly earadal [IM NOA uwaray pasodolg
ap sonoidde nod ot) J] ‘mo[aq passnosip se ulrela w ofyy IsMu
OA pully) WAWE|YeEg OY) Wl QseYs 01 Ng “SurypAue Op o] savy jou op
Of ‘sasswjD WWaUaMag WOM Jo AAQUIDUL U LPBUEDA U7 YsTA OA JT +

ESqyS]y 12387 AW ary TEU,

“sosuadxa pur saaj 5 Aauone

JEU) JO) apgisuodsas oq [JM MOA “I9ADMOH, “YIN NOA jr AowWONe
umo 0A ally Avur vox ‘sasuedxo jo yuawasrnquiias snd ‘puny
luawaiay pasudody at yo (4 EEEE) juaazed pulny tv pur satp-Auryy
Po20Xxd O1 Jou soa] sAaWONE Preave UNO: otf IN WanbaL |[IM fasuNVD
SSID “Sassu(D ata wasaidol o} sKowtoyL payutodde sey unoD oWy
day syuasaiday ayy

“spuny suoWOIg OM)
Jo Loddod & JoJ 95 sue stUtEES wroYy B[WES OF paauTL aaeYy om
GSdHS]. 40 Sue} Qeo}] Bulag luepuadapuy,, ayy st 01 paseyos)
siodeg ANg-pAY Jo dows juopuodoput puy aezedos & Jo sroquuow
Suv OYA SIOUNSUL JAUIO pur We |9 EUG IIS OY AN S2IYWA]A] SSE[C)

(11A0]2ADy) XBAAOZ

(e}21L121 auig|a10U1A) aulg}aAeN

STVES YU “UPE|g Wed ISAM ‘EL yz XOg ‘O'd ‘SUOHM|OS WIE}D aa}dWOD o/9 “OVeNSIULpY LONESHIT dMY NSD ‘IM IO
WOIUAWAPISISD'MMM SIA JO (jouedsy e)qGe} aS) $179/-89S-88B T 2324-10} yeD
ULIOJ WIe]) & puke UaLA]}aS UONY Sse} pasodoig Jo ANON B 104

Toms] Jo suites ay Aed 07 ApIsy 198 9q FIM pury Zurureurss arp Jo
(402) Inaotad Ayaonog “SuNTEAO ples SYULU GYM sIOWNSUOD-0) tsa
U! paINghysrp oq []l puny SuTUreWe oy Jo (y%OE) WedI0d AAMT,

“sIEQUWa|! SSUID Of suoMNYNsTp
ddojaq puny wWowo]Yog oy} Wo’ paloNpap ay Elm “WUWAINIES
posodosy ot) Tuuajsiumwpe jo sjsod oN pue soo) sAowaneE sz [jam
SI DUdL) SAAWIOY OIG UTELIGD 0) USUAL LOTTI Spy Y “SLLETE]O
4 JAYIO PUR ISOM OMIOS O1 UOT O,d Aud oF poawde sey WSO

Qquawayyeag aj} Jo Sua) 3yQ aly EY

“uowXed-o9 rey 40 paxy @ pled tA J} sep.) oy] UL
Popnjain you a7,noz “\WawAud-oo odeiusored v sem WoWAed mox

(gq) 40 yayood-Ju-ino qUNOWE {[nJ ey) Joy (R) sem quaWALd INO,

PUT 9002 ‘01 IsUdINY O1 [661 “T Arenuer

Wo ‘g Weg aeoIPsyA] Jo Opisio aaoge palsi| SInuic] parsaody

MSH ay) Jo Aue sj (Avd 0) payeSyqo Apuoxms av 30) pred nox,
{fi sse]D IoAwYg apeaptd OY) Jo aqQuIOW! ¥ OTY MOA »

“syuautked-o9 3n0k
Joy fry Ul pasunquutas ay 0) 1Y3LL oly eARY JO pesinquites 19m
nod 10 ‘uaWwAed-o9 WI ape ROA JI sse}D sty) Wo papnjoxa
ore NO, “SoOe ‘1 Arenuer o} 1661 “1 Arenuey tuoy (QuowAed-o9
v Yons opEty OM QUCOUIOS O} JOY Mv ome JO) oAgQe post] SSG
paiaaod 3S ap jo Aue soy g ueg sumoipayy sopun awd
-03 odeuogiad v oxeU O) poIedTgo Apuatms ore Jo opeut nox

JU SSUID joUANg-O- arBoIPapy Op Jo JoquIOW ¥ ore NO, »

“aoe past] sdnIq] polw0D WSO
‘ayy 404 pied OYM SISUIMSUOS (BUPIAIPUY JOJ SOSsU|~)-qUis O¢A) QE DIDLLL,
esiaquiaW SSEID Ady SENPIAIPUL JEU

‘Stup oy) Joy siusutAed-oa apew av pred
oy ojdaad awos uy sadewep ASUOW plvane O1 ULOD oY) S¥sE TMISME!
SUL, ‘SJOMSU! PuY stoUMNsUOS ‘areaipayy Aq pred ose wy) sooud Srup
uoyjduosaud 19s u) pasn Uso ae sqAyy Povodas oy, ‘sBtup wonudyno
Jo sadAt urewaa 10) (gd AAV,,) S29td opesspoym oSusoay payeyjul
pur asje) povodos somredias Stup urcuas 1tys SW] INsMmE] OU,

dNOGY INSME] UONIY SSE} 943 S] JEU,

“OSbL ‘ON ICA “S£ld- £572 1-AD-10 “ON 12490q,

JOIMSIC] 'S'A, OY Ul Burpuad rinse Uogoe ssvpo # UT SJUMpUayacy ay) Jo
auo “(.918D,,) SUI MIPRAgoXE|H tum juaus|TIey pasudedg B ¥! oJ,

Papn}suy Be (S1ld} AY] 10) SAE YyoUuAag g Led sIeIIpaw
*S}YSiy ANOA Payy AeW judas UOI}Iy Sse} pasodolg y
(UIxoSIq) uyxoue’]
(ueyd)Jyewns) x21} WU]

40 (JOsa]Ng]y¥) UoUaA (7H UOUJaSUePUO) SIO UBYOZ (7H UOMJ@SIUEID) $39]qeL UIAy
(@uipnaopiz) s1A0ay

(ueyjnsng) ueayAWw

(ueyeudiaw) uelany

CIDH uosJasuepUC) a}qe}>afuj UeOZ
CDH Uosj@s|UeAD) apqeyaluy jUyAy
‘SSG NSD uy} 104 yuawAeg n4 40
quawAeg-07 a3ejUarad & ayew 0} pajyesinqo aly 10 apeW NO) J]

SLIASNHOVSSV dO LORLLSIC ~ LENO LORLLSICL SLLVLS GALINS)

a
aonOK Usa

(GARALTD): aL TIELEMANS (THOMA

ose [PH

(noma): wast

“youquejenyy SuyLuoyy AepUoyy §.3uly| 4010d WODIS LV AIND GQ) 9

OG  jApead sun ay] 'uay3 aysit
Yovud USE WY aly O] payuem
J ‘s]uBL) ay 02 od 0) (0007 UT}
st JO] at] Loum PU sem | 'STvOs
DAY SBl SY JOZBUMpAOGD & UDIq
@azy pINoo ay MUTI PPI soy10m.

os g} [Natesy],, ‘sauaf skeg
{nud Jo} aoanos
-B1 BULL “pualy inod you wh],
“suas WEL! Ul suassed S14 pfOl OY
Bump aszy ayy “ad spy uo yos aq
JOU [Ts YaLtey ‘oyeutdgld # 10
sopra] # se aipa SY Buso] Noy
S9DUBYD Jomay afer INL OY
‘OUUOY] JO TAMOTIp WUayIsuCO AJOL

U aye ay YaLIes) sued soul
Aypbud | axoy Sauuyp suaduyd
Bly yo syduogs oy oy Ae [Loum
qouas poad Afar 8 $,ay atu plod
uose[ ynoge 0} paye) | auOALDAD
puy,, ‘stes sd foured e siujod
£@ paiods dary pur ‘Bak se]
séeld aup payee [oueredy] Aur,
‘divas ap ipim alqu}oj}wivn st
fasuajap 9002 Iysiyy-do} 4.u321¢

ug jo paINpIe arp ‘sdrpy
‘sdujd ap [yea 01 Waurey sje
souol Ajjenjuaag “uejd oured
Appeam atp dojaaap 01 sayador
dom [fw Wales) pure ourszedy
yuyu) paroadxa 3] ‘une EW
souloy Auo], Jayioys svad-qsly
duuinp jj ssed pue ur ey
Burysaut ‘Tey ase] sAoqmor arp
roy skerd pares oyai ‘oursreds

AuoL 1ojeutpiooo owed-una
pur ypeos aut Jo aouesaad atp 51
[Pad] LoJULOd ssouol ol Duppy
“wapns)
uof pur fassy wif ‘ucrdeg Ueag
‘auiny alan ‘uesuyof Aut
uns34 old sarssorduut Ula
SMOIULIPJoUa pur sayeoo Japun
poduld osye nawrey ‘(uBUNTy

COS CUE Clon
RCO oR enn ae (0)
RPE DEE ED cle

Aoay, souryy Jo [eH ‘stead asoup
jo Uaaas U)) JeLTEys atp Suryse0o
-Tuas ‘saurfapis uo Tuipueys pur
sSupaoul ut Suis Jo 30] ¥ auOp
aanod suuaul 31 ‘sivad uazop &
uy sassed p67 Mwlly pus sous
auin wes nof vay ‘suryd
soy, puB song ‘suBID ‘shoqmoD
ou) WPA pequarenb dmpeq se
suoseos G1 sy SULMp pip Nawet)
payeonpa-uoiaouny ayy Taya
saeq. {uado sua ano anny stem
-[V,, ‘3HO8 INO] SLY Pjo} L2YY aff
“RIQLUN]O,) AZ Yeo pray aip way
puu juRysisse SUMOIg pure S]URID
aunsuoy B sem ‘wif ‘pep sty
‘saddipad snares gaaarp ‘sun
QUO JO. ‘POLLIOM 00} 7,UST 1aUMO

ay aN (YO, Pur Sugg UT sud

-[Od 3p 40) sypeqiaytenb 3ursas
Jano) souauadxo Suppeoo-aid jo
suaswos omy tuo set] pue ued
aue2 TAN UB pougisep Jasau
Sou UBU @ 0}—s][0D UoTdureyp
[og Jedng atp uryy Jamay ony
teak se] uted Sp paras wip
asuago ue 3 sXay ayy dutpuBy Ut
4SU aly sa8poymowpe sauof
“}eLOyBUI TROD
~peay aqissod sz naires Tenpeaa
0} souBYp ¥ SuppOS pue ‘yo
pte aouatedxe weamiog aouepeq
LTEWS 8 BUDS S] bUMO SuLfed] a4.
‘sannp toyvutpiocs slunsse [i
oy TaLTt:) plo-wad-OP dy JU
Spuuy aip uy asuayo aip duynnd £q

jng—6S ‘sdiprd apeyy LoyUIPsovd aalsuayjap siadiwY’) sol ar,
—tpuor peoy se syjaoed [ig Suise(dai ut Sumoé 08 3.uprp sauol

aad aA4 4L| $[aay 31 1Nd,, ‘O88 syaam aaj B PUOLY B plo}

Autof sumo shoqmnor ‘ony ,;2uy Buoy Bugt e suy Suryovoo I

jawed uose[ Buoj Aras JO} yoeoo TAN Ue NYA L.NBAVH

yYaLey uose[snueidde sutstwoid
0} ssuayjo JS} Jsn.QUe sAOqMOZ 3}
‘qd au} dn sazoys sdiytyd apeM ATA,

SUSY 9U}.cUl

hs

Buly 29390q Aq

N SUL |

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 11 of 20

TIME
FEBRUARY 19, 2007

01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 12 of 20

KEITH HAMSHERE-~PARAMOUNT

Case 1

"3108 YOTeM ‘agns JUueM NOA J) “edUUd ‘He eye
Sem Y “Jeeys BU|MoOjsIq JULI e OJUO eyeND aansessns
@yS29 12)1N8 padeys-YdAi2 siy pue ay ‘Ajpuany Aj]Wel os
aq pinos si HII 30 OSB @U) FEY) [9A
-JBW 0} Uedaq aUOAJaAA PUk UO LUD pueg SujyoeU Buy
dae ysn[‘uay) “ssBndd puke SBUOS UMO SIY Jo Aa|paw
Dasoo(UN 1e}S 49041 pjo-ueeA-gp OY} ‘s;yA|| edays Aq acuind
‘SOA ‘palepued UjeL PIEY ag os
@J9pur ‘aqoupaem pany
WEI ‘BUIUOROUN) ANY
2 UjIM pur ewes oy
ueyy Syy a40Wn JO [ny
-yooys ‘jueseAeXKe—oq
PJnoys moys awWyIeYy e
JEYM SIMONA PapUIUtaT
SONRid ‘Tx 0g Jadns
dy 'sdjyo ayy [yer 07
8s|9, euoaWOs Bu|pues
YUOM SEM} '89U0 104

TIV4L004 40
SN GATS
Adv

“WEY S,2MUD S| SLA JO BUOL JEN PUY “(UOTIW OOTS UeLA

SOUL SO] BOL |AePezep Wesep ey} JEU) ayy) SAUILY aWOS
uo sage op samied aut 1S1| SSaLyIM 5,124) Bly UO S| Yaonpowd
2 *ABYUBNEUOQOWY “Wul} BU} ABAO [O{UOD GJOW WY PaPIeAVe:
eu} BYUOD P UD pafaual s:a9Npaud sées Jajssng ‘asvaos
‘SHI d20J9q ssoid 34] 0] alAOW 31} patAnow-peg pues Warn Bu}
-Pes2 INOW Sd yos Susy Jao pojoefa, ‘azam syoog S]y
Jeindod Moy Inoge pay JoyjNe sty sAes ‘s}Ys yoo aly JO}
WW OT$ 49/SSN9 pled oym ‘ANYOSUY "ZNO 3dOTNAd
pue AZHINVNOIOW
AGHALY S215 UaaMy
-6q SOURWOI 84) 0} Pa]
ety WY ely ‘ereyes pnp
uoNnde SOOT eu) AdAG JayjO

dytud 4ajpueuy szaauaq
Pue Jajssn9 aAyD souny
*sUNoo ayy Ul seq Aeyd

0} pua) ley} salnow 2/qe}
“> -qaHu0} Ol) 5,4) Ajpea|uoyy

WUVHYS YAO
WHOLSNYS

YDVEN NAVE TINOM

yoea Bujns ee ANyosuy —

Nv933™ SHZLNIM vooagaY" Ag

a T d

PTET ALE ROE MIO)
EY LeeemCaescorl AMD CIAL HLT WARCEUILCH
Eau R Re LEON SONY [LOCO NGPA 27

OSLO EEC Rn DPR
BUI) L@ RUA! TRCONROTE PancsLarEaNN
BCCAMUU IAN MAIC Ie PGR Chon cid

see) BR GCeL UA Lea EDL LAUT Rey bre) bOI
DAN We ea [tae eee coer a SOT
OE RSONGL DEC TEE
PiUraaueleR eed ETUDES)
FILLER COOL Msg) CR nd
Bill euP Lei Meme | nate |
PRI we iy eee Eee a Ly

rl COEUGen Se CUAL ene he

eCoIDI BAUR SCE c Hie) eel

PSOIGRTS MIEUIO SUNT a ROT

PR ere tuly Dat chat en aL ced
PACER Dy Pee ey ere EL rid
Bilcalte) abies Rte! Ue cay
UL ener sk) EAL eT |
aL SC Er eee i Tey
TECOTIN Lat nnd Pod ey Utes)
aE CUM pice) OLE RTC OR TE Lo get oy
EXO AMES CUCU Er nlite trey re es od
Be Eu Parner n Bul) g

Sbaplint ey lacie Senet rat Tes
Ao Sarrulorle fey PPS e ERLE GFOLEY
pane eat Reb QRcod] ore NOU RP LaOLT
POM Eto Pema NAB LrelHatust
Blyton RSE arene Leta
Rsk er eco ees a CE YY
Rr aoe Ec Uren

TO LEE DOE EEE aS Ee CCCP RCC ESP Oe CUES Eats 4 |
PRED baer iie pia base: BLATT Ea la tae BUR Weltece |

‘S3WUN2WS4 BNIOs—NOSHIE TRYHIN

"OUT FEU 2B WO] LPISUOS [TL
mor) ayy ‘poalogos 1994 9ATY SUL {qo 10 J I

pure soay ,sAowoyE JO} UOHOUW a) puL owenbape puu ‘ojqeuosea:
Suey st juaweyag posodoig au] Jatyaya JOp/suos O) curd juz
1e 2007 ‘61 AMP Uo Sunwopy paoaddy feut,) & ploy [ft UNO} SUL
dquauiayyes pasodorg ayy adoiddy No) a4) HM

‘puauapay woHOy
syn) posudodg fo 220K BY) W] paullioy se “L007 *°Zz BUN’ Ue Joel,
ou poyemmsud pur payeul st yeu) JOA] V puas ISNT os yuaUAUOD
go yalyo Of, A opnyjoxa you op nud jr} Jo uvd dutus 10
quaunapras posodo.gy S143 94f] 10U OP HUA J JANG?) ALY |[9} WWI NYA »

"2007 "22 BIA, UIP Lore] OU poxreunsod oy ysntu ysonbau

INO, “Heaudaquag UOHaY ssp pasodoay fo d2Hon) OIh UL pouTPTO

se Wu] voIsn}oxg Jog wonbay v udis isn TWA *SOSSE[D JUALUIIIIS
dU) JO YjOg 10 JaypIA yo 4aquua U aq 0} YIM JOU OP nof j] «

“LT ‘87 LEIA) ULAp Jo}EE OW paxieansod pur pauiys oq nut

SWOd WIE “ails qoA\ ALWAYS YANO sy) VO opqejaL Ose St 1]

sxaquunu soy: [jor ap SuTppes Aq av ‘mo[oq uoald ssaippy otp re *duUnuAA

Uy soyeQSIUIWPY SWIRL) a4) SuNsEUOD fq WO, WET & 193 ura
AOA “Wa, WIE[D eB o}ydWWYs ISN NOs “UND B ally OF USHA not yy

‘yuaWoMaS ay) Ay po19A09

age 1b) YEH wuteBe oaey Apu 104 suste|a Auy doup pitas nod suvot

OTHEE UYDe|g WeA ISAM ‘edz Kod ‘Old ‘SUONIN}OS W}EID aa]dWuO} o/> “AoVeXAS|UMUpY UOPEATT AMY ASD “HM AO
WO>"jUaLA|NESYSO'MMM “WSIA 10 (jouRdsy e}GeH AS) S79-89S-888 T $93J-110) NED
Uo L}EYD B PUR JUBWA}Iag UO!WIY SSE) pasodold jo BdJON & 404

soinsur yo swtvy> o1p Sed 7 apse tos ay [lm puny BuruiuMwol a) Jo
(2) tuodsed Aiuaasg “sUNE|D PITeA SYBUL OYM SIOUINSUOD O} yseo
UL palnquIsip oq I]t puly ZuTUwWal ata Jo (%OE) yuoosad AU)

“SIOQUIAIA! SEED 01 SHOUNGINSID
arojaq puns Wawanag oy) tos} pa}onpop oq [| *‘quawalias
posodosy ayy Tuuassiawpe Jo ssoo axp put soa sAoUIOHL Se [fom
se {way sfoLuony deg UlELa9 O} quowXed uo SPs VY 'SUTe|O
poiyal saiyo pug osayl 9/40 OF YOY OZ Aed o} poode sey ¥SO
ZUBLUA}TIAS AY} JO SULA] BY} Bly EUM

‘uourhed-o9 yey 10 paxy 8 pred nod 41 ssvfD ay Ut
popnjoul you ay,no,, “juawuAed-oo oBryUaDIOd B sem quauded nod
(y) Jo Yayaed-jo-No YUNOWE 4[Ny atp Joy (u) sea quowAud Ino,

PUT y00z ‘OT Isndny v2 | G1 ‘1 ArenuEy

WOY '{] Wg Deopayl Jo opisyny dAoqU Pasi Sug paaauD

SISO duT Jo Au soy (ded 01 parwsdyqo Atuaiino are 30) pled nog
yi sul) 1odeg ayeALtg Wp Jo Joquiow! bau MOA «

-squowAed-v2 nok

JOY [\ny UL pasinquiias aq 0} 1YgU ayy BABY JO PasinquUTa] O13A\

nos 40 “sjuauiAed-oo Wey SpLal NVA J} SSLTD SIL WOL POpA[DXI

que NO, “suOZ ‘| ATenuEL oF [GGT “| AeNuNe WOR (uawxvd-o9

8 Yons peut O'm sUvALUOS O} lay UL O1u 10) aAvYe POIST| sduq

poroau;) ASH 2p Ju Auv Jog q WEY seolpoyy Jopun quowked

SIW], "SJOPAO StNU;) ays [18 &q punug og osye [flay HO,
pasodory ay) JO SNjOUIY ayy BAITOOI [fA nod uowajnag posodory
ayy saaoidde nod oy J] “mo}aq Possmosip se WIR[O E 3[y wo
nod pun. { WOWI|NIG VY) Uy WeYs ng Sunpue Up 0] SAzy JOU Up
HOA ‘sasse]7) JUOWITIAS WIE Jo Jaquiad w UPELUAL 0) Ys Es Nos JI »
esq ySqy 72597 AW ay JEU

“sasuodxo pur savy sfowiont
wu) 10) d{qIsuUdsos oq [JIM HOA “JOASMO “YSIM nog 41 ‘Aouwone
umO ink oy ABU nog ‘sasuadxs Jo juaWesinquital nd ‘puny
juatuarnay pasodog arp jo (mCE'Ce) Wadd pup ¥ puL oarp-Aulyy
poodxo 0] 10U sad] SAOWOTE pswme LOD al) wu ysanbar [| jasunog,
sseity ‘sosse[d aut quassidau of sAoiutone peaiuiodde set) uno.) ayy

Jaw syuasaiday ou

“Spuny HAW yes OU
Jo uoniod v Joy ASH WuleBe swte[o tray) aps 01 poate oney aya
(SdHS1,, 40 sue] tnjeay Buruog yuapuadapuy,, ay) sao} poLajas)
suvkug Aueg-pstti| 30 dno yuapuadopur pur ajeiudes r Jo sloquioul

~02 1 y ayeW 01 parndygo Apuauno o7e JO BpUUt OA
“gf SSB[D JUAULALg-O- AIBIPIJAl Alpi Jo LoquIOW e aU OA «
“QAOGE Pasi] SIUC paleau) ASO.
ayy 20) pred oyar szdtUNsuVD (ANpIAIPUL 40) SOsse{D-qus Om) OF Bay L
ESdaquuay SSE} Ay SPENPIALPLY JEYAL

“Srup ay) 40) sywowAed-o2 opuin Jo pied

Gym afdoad owos 0] soBewep Keuoul preme or UNOD OUf SYST UNSAE|
AULL “SHaINSUL pu sioUINsUOD ‘asoLpayy Aq pred ame TeIN saoud 3tup
wonduuasard 198 0} posh ualjo oe Sd AV pouodorsyy ‘sdrup wanudino
go sadAt ureyia> 10} Cd MV) soolid ayesojoym ase1aau parryul
pure as[vj polludas satuedwios Arup weds UL SUUITETO WNsmAey LL
EMagy YNsmey uO] Sse}D 97 5] IEUM

‘OSb1 “ON ‘ICI ‘S@d-LSZ71-AD-10 “ON 309190,
‘uoyo8 pry] vlad aposazoyfA PFos9Ay Casnpuy jovuNadvUUDY 132
SAVE] DY] JO DUEL DILL, “SOSMYDESse | JO JOLNSIC] By JOy HN)
JOULISICT SN OUI UI SuIpuod rnymo| YONTE supp U UL sWEpUayoC] OU} JO

ore OYMs SJOANSUE JOO PUL UULYIA Pl]wa w WANS OA SIOQUIDJA, SSEL

papnyauy ave (Si19H{ 41843 10)

(4A0] DAY) XBAAOZ

(eyese] auiq|asoUlA) BUIq}eAeN

SLIASNHOVSSVIAL SO JORLLSIC

(ueydiuyewins) xeuqieUy
40 (josaqngyy) uOIUaA = (1IDH uosjasuepug) syeio UeYOZ (71DH udd}aSIUBID) $7211 414M
(suipnaoplz) 4\Aox}9y

oanon [eso]

au (ASL, UIPUNWSOXED yar jatamag posodosy & S| WAGE

saliepyauag g Wed aesIpaW

“syySiy uno, Payy Aew juawayses Uoly sse]) pasodoid ¥

(ulxo81q) upxouey
(ueyjnsng) uesayAy

(ueyeydjaw) ueseyiy
410

(19H UojasuepUC) a]qeyelu] UeYOZ
(1H UoMas|Uesd) ayqeyaluy WAY
:S8M1Q NSD 2u} 404 JuaWAeg }}NJ 10
juawAeg-0) aSejUsIIaq & aYeW O} payesigo aly 10 apew No, JI

= EMOZ LORILSIC SHLVLS GALING

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 13 of 20

TIME
FEBRUARY 26, 2007

01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 14 of 20

Case 1

df

“SULE] TU 12 Way) Japisues yl

NOD dp 'poatooal waoq aABY Nda[qo Jo Il

pue sooy sXousony Joy UoNOW oy) pu oyunbope puy ‘ajquuosyos

“Ug sy juaWalag pasedosg ay) Layaya sop{suud o1 ‘urd Qp:z

Te £002 “6T Aing Uo Bupreayy yeaouddy jeuty ploy pL wNoD oy)
g}UaLWa]Was pasodoig ay) anouddy WNo> 9up IAA

‘qawanias oly
ssvj2) pasodo.g fo adON DY) UL paUrIno sv ‘2007 'ZZ BUN WEED L012]
GU paxzeusod puL pelle St Jey) J9ye] U pu|as JsnwW NOs ‘UsLUWES
40 10lgo oO) ‘Jrosanod opnyoxa you op nod JW Jo ued aus JO
juawajag pesodo.rg spy) af] Jou Op Nod 31 7.1N0> aq} fla} UI NOA «

*£007 ‘£7 LBJA URLN Jo;N[ OU poyeWsod oq IsnuZ ysonbax
AOA “MaHIDWHTS uoNrYy ssuj-) pssvdoid fo varton ay UL pauryiNe
St WO} UOIsn[9x4] 40,] INaNbay & URIs SM NYA ‘sassE[ 7UIWAL}}IS
DY} JO YJOG JO AIyyJo Jo AXquIsUL & aq 0} YSIA JOU Op Nos JT +

“£007 ‘87 ABI, Uvip soyq] Ou poxreunsod puv pousis oq smu
SULIOY WALID “SHS Gory IUOULI|IE YSH Oy) UO QUAL Osye STI]
‘aquinu aadj-}{o) ay) Buyjes Aq zo ‘mojaq UdArd ssaappe ayy ye ‘TuNuad
mW UnUpYy sey ata sur Aq uulog uy & 108 uF
NOA “UUOT WILTD B a19]GWIOd JSMUT NOA “HPLPD & O[IJ 0} YSpA NOA FQ «

“yuauapag op Aq polenoo
BAL EYL WSO IsurEde aavy AUW Nod suule|o Aue doup [yim nud sueaiw
ULL “SIOPJO SLMOD aU [Te Aq punto 9g OS}P []IM NOA “UOWAWOg
pasodoig oy) so sygauoq oy) OAINI02 [IIMA NOA “JUaWApJOS pasodorg
ayy saaoidde pno: ayy J] “Mo[aq passnosip su wrejo B a[y IST
NOK pun,j JUDWONAS oy) UL IeYs O1 ING “BurpAue op 0} aavy you op
NOA 'sass¥]-) JUOUIHOG YO Jo JOqQuIOW ¥ UTEUII! 07 YsLA MOA JT +

éSqUBty 12897 AW Oty JEU

“sosuadxo pur s30j s Aoiioue

WY) 1OJ aQ!suodsai aq [[IM Nod ASMOLZ “UslM NO JI ‘AWOL
umo anof aay Seu no, ‘sasuadxa jo wauwesinquias snd ‘puny
quotapieg pasodorg ap Jo (4EE'EE) TWsoIed pmp v pue sonn-AMn
paaoxe 0) jou saoy SADWOWU pleme UnO7) aty JeLp onbar |i PasuUNED
SSI) “SasSe[D ay) JUasidal oO] sAawone payutedde svy uno; aL
28; Sqesoiday oymy,

“spuny juawaiag oy)
Jo votniod v Joy YsH IsutRde suuTEFO Tratp spas 0) paowTe oaey oyM
(.SdHSI, 40 Sut Weep Surpas wapuadopul,, oy) se 01 po19jo2)
siofeg AUeg pity.) JO dnoJ3 juapuadapul pue aeiedas ¥ jo sisyuieut
2.18 OAs SJOINSUT JOLPO PU UITE]S Plyea v ILWIgNS OYA SIOQUOIAY SSEID

(lAo|2Ady) XeLIAOZ

(B]2UeL BUIq|aJOUIA) aurq|aAeN

STPEE 14 “WEAR WEN ISOM “EML4Z xOH ‘Od ‘SuOAN]OS WIE]
WO>"}UaWS}ISISO'MMM ‘IISIA 10 (jouedsy e1qGeH 3S) S79/-895-888 T *2a4-1]03 NBD
W104 LUIE]D B pue jUaWwa)}as UONy Sse]) pasodold Jo aNj0N e 104

Papnyruy ae (Sua} Alay} 10) saueyjaueg g Weg alerIpay
“SJYUSIY INO, apy Aew JUdWa}}}a¢ LON}Dy SSE)D pasodolg y¥
(ulxo31q) ulxouey
(uejdijewins) xe hu]

JO (Josajng]y) UNOWeA (7DH UOASURPUC) S}EIO UBYOZ (1H UOMaS|UeID) 5}9;GeL UIA
(@U|pnaoplz) 4IAo}ey

40
(1DH UoujasuepuC) ajqQe~aluU] U2YOZ
CDH Uoujasiues5) ayqezaluy [Ay
:s3miq NSO ay} 104 juawAeg 11N4 40
JuawAeg-0) aSe]UaIIad & oEW 0} pajesiqo aly 10 apeW NOA J}
SLLASNHOVSSVY AO LOLS — LUND LONLLSIq SALVLS GaLINN]
[Renn

Jdwo> o/> ‘s0,eys)UjUpy LOVES] dAAY HSD 9M 20

Jainsut Jo suie}a oy) Aed 0) apise yos aq [pty puny Suwa ay) so
(% 02) lusaied Aivaneg “SUWIE]D plea oyeUL OYM SJALUMSLOD U7 Yseo
UF poINgistp oq [4 puny Sutures oi Jo (440¢) wossad Auryy

“sloquuayA] Sse{<) Oy SUOHNGLNSIP

DAOJOq PUN, WOTUDTNIS OY) Woy polonpop oq FpIm ‘yOWAs0g
pasodoig ay) SuyosTUMUpe Jo siso> ou] puL sao} showoye sv [Tan
Se ‘JeI9UST) SAAWONY STE ULEAD OF JUaUIAEd LOL! [MU Spy Y “SUUTE|D
POyBIOI JOUIO pue osayN OpWos oO} UOITTTIU OZ Aed Oo} paoude sey WSO
dquaayias 44) JO SWd) BY] aay JEUM

“uowded-o9 yey Jo paxy e pred nok i sep ayy wn
Popnjoul you da, ntoA uoutAud-o9 oSeusored v sum quawuAEd MOA
(q) 40 “lax90d-Jo-7n0 1unoUE [[Ny ay) 10) (2) sem quaWIAed ano;

Pat goo ‘OF asMBuy oF 166] ‘] Auunues

Woy "gq Weg ABoIPI JO Spisino saaqe pois!] séuq paras,

MSH ap jo Auy 10y (Aud 0} powsrgo Ayuarm om Jo) pred nox,
YE SSUIL) 40¢Eg IIVALIG JY) JO Laquioul v orU MOA «

‘suawiAed-uo Inué
40} TIN] Uy) posinquutor oq 0) 1Y3L oY DAB 10 posinquUIot o19m,
Nos Jo *syuowAed-oa Jey Opecu Nod JI ssefD stip Woy papnjoxs
Mu DOA “GOO? “| Arenury op 166] '} Arnuer woy (wawdAud-co
2 YONS Ope OM DUGIWOS 0} LOL Ue ove Jo) OAOYR Posi] 81g
Pawoaod SH op jo Aue Joy g wed oreopoy] Jopun ywowded
-09 o8ejusoled B SYBLU O} parES1(go Aj woud aw 10 ape Nog
{JL ssp 1austeg-07) a2voIpsyA) aly) Jo laquiaul B oe NOX «
“@AOYE Palst| SBracy PHAAoD WSO
‘OU Joy pred oym stoumsuco jenptAlpur Joy sasseyD-qns Om] oFe OIL],
ésiaquiay SSE)D aly S/ENPIAIPUY JEU

“Stup dip Joy syuowAed-oo opewi Jo pred
oyas a[dood suros 0) soSearep AOUOW preme 01 LINCS oI syse iMsmey
SUL “SlaMsuL pue sieuINsuOd ‘oswoIpa Aq pied ase 1eyy saoud Bp
vondnasaid 19s 0) posn uoyo are sq My poliodo oy ‘s3rup juonedino
jo sadAy uywni99 Joy (gq AAV,,) Sold apusajoym oBeloae payepzut
pub ase) payodes soimeduiys Srp ureyes wy) Suy|D Jinsag] aL,

dznogy INSME] LO} ay SSBFD BYy SEIEYM

. OSPL “ON ICUN 'SEd-LSZZI-AD-10 "ON 93990
‘UOND8NTT BIL ayosajouyy aFnsady Aassnpuj joanynaovuuDyd Jat
uf SE JINSME] DIP JO Jute YL, ‘SNOsNyoRsse]A] Jo 1OLNSIC] ayy 40y NOD
JOPASIC] 'S*f] 94) UW Surpuad yinsase] ONL ssvyo v UF sJULpUdsaq] otf Jo
duo *(.MS6,,) Ut} IP UgOXe_D Yllm juawWaHag posodoug ts} B94],

(ueyjnsng) uewa)Aw

(uzjeudjay) ueveyy

sono Jesery]

Weqdwes AzweH Aq WIL 40) LORRAENTN

8F

a “Heys B S31 TOMA “PUdLyy 189q,
sty pure puouyyird sty ‘ayetutuoo4 siy paouta
-U0d sey OY 1B] OS ,;aU0 368 pjnoys Kay pur
1909 sr yety afdoad rayjo moys 0} y) asn 4]
-[Pal |, UUay, wdoouL)]EY) UL UOpNys o7eN
~pead ary sAes ,‘sayotmpues uoxoryo-Adsuio
266 Jo ajdnoo v dn yotd 0] A0y pezxe; ysal
] pur ‘sApuoa, ye sea OYs Jeu] ARS], “NO
jUam a]BUIWIOOL STY UaYa JYsIU auo ApULY
ul awed uookeg Appng s.olaz sly sus
oH ‘pjos Apeaure st “eg ‘aa"] usydaig
“SDIADP SUIOS LaMod YU? sdvus afdooD aay
pure sdiys sap deays aig jo asneoaq Apred
TIO’ Aq uolT[Iq Tg UL s40WU OY ead ySe| UOT]
“PQ ueuy ss9] Woy jetids 0} eoLOUTY AION
Ul SadIAlas paseq-UOQEO] Joy sonuaAas Sjoad
-Ka YOLeasoy [gy ‘ssajemouON ‘spe ourue
10} WONT QTg ‘SA ‘dnote aaqUE, 34) 0}
Surpsoooe ‘900% Ul wor GOs snl
ur 14Znoug yaxzUUL pe auoyd-onqow
OU “H-150g B se ZIy se ynoqR WOODS
B UO Sp¥ 40} WOUs YOTUL JOU 5,104)
hy Bussqioape uo Aquow ayew ‘purely,
4ayjO OY) UO 'sddIarOS 01, ‘Spuely
Jay punoy 0} YoU B QOTE Ae 07 Burn
ST auOAI@Aa JOU ‘TR Jayfy gsOUuZId Sdd asaly
JO} JaxLeU! # Ayjear aay} sing “AYIN
“Wun azis-auoyg! UL ur JOyRAvU Peuosiod
pue sake gqy ‘euoyd youroyuy ue sourq
-WUOD YoIy ‘WanUalay WO OT AA Jean! atp
pur 9! Uo Yoreas [xoo] (0D sjooueA tam BuLids
SLU) ayes UO Wayshs UONESIAeU 1e9 afqeyiod
OOL$ ¥ ‘sserdxy Yseqy ou epnyout sZuLayo
yeoo 10H ‘Aqueeu siequunyd 0} sIauva}o Lup
woy dinyyraaa sisadgns puy dew t uo uop
-tsod anod smoys ‘(venuel ut paseajas auoyd
~}ieus B Aue UOZLIaA DOSS OU MON “I pos.
Joa ouoAuv Aypsey yey AL1oad os paxiom
HW 3Nq ‘suo ynowpIA souoyd eulos uo age
~[reae Apearye sem uondo snp ‘ang ‘Ay ayy uo
suonoaitp Bulaup yas 10 sasseuisnq puy 0}
snmua’ sao sauoyd Ano asn [[Qs UEO Nos Beq
ANOA 3.USI SpuaLy Inoé Buyyeyssogdo jf
“Avs WES ay} YONUL Ul SxJOM BU}
wos-ajvssd3 W041] a2vAyJOS pRO]UMOp Ueo
OGG pure ‘cox, weg ptre joR/prg Sunswes
aly oT] ‘solaap apqoy SAopunyy & LAIm auO
-Aue ptry siasn QOO'OOT SwIE]O ‘pirelq LNA
BTIqo| ysoog syusidg UO A[UC SyavM pue
aad] S| yorum dow | paleo aotatas Ie[lWs y
‘BuiBessauw oop pure sojoyd 4x9) pia uel
Sul|jeo aaisnpoul-fje ue 10}—oBetoak AQsnput
ay} dulay jnoqe—tuaW! vB QOTg Mog" pueds
Yous slawoysno opg'o, Sdn-yms ayy ‘su0pA
=f Jo $30] pue—zznq sey Apeaayy oljayy
“WODaTAL, YY SBI yoy
pue yuryiey Woy BujpUry Ul LOLI ObPS
UWA JOWUNs yse} OLBE payouney uoyABC]
“yUyYpwYy tapwoid odolAJes JOUIOWU] at
jo J9punoj-o9 ve ‘uodeq AVS Svs SPUaly
soy] Yala 3g 0} JUEM Adty ‘st YOttm ‘Op o}
quem Apearye afdoad yey Ju uutsuayxa [et

SS@NIS0 4

S}@SpHP e]]GOUW 10) seouas Yoeas-|e90]
JOJO [JB WOD'HSY PUB E/FO0y ‘jOOYBA ‘Uaal0S
[JEWS O43 0} paso}1Ey SaBEg MO}|8A 12YBIp JO
Puy 2 S27 JO 4UIUL NOA UVAN SAOHS GNIS
sdew jetus pug susel9s 3]q OU)

JO asnegagq swayshs UonesiAeu Jeo se ajqnop
usa 'O0SS INege soy dunds sip yno anp ‘OTTO
BION 84} Ue 'IYUBy aAoge ‘AUS UOZ/Z9A COTS
3} 54t] S9UCUd SNOLLOZHIG ONIAING 145 mi
QJB Spudi INOA aJayM Ajjoexa nod MoUs:
SOdI8S PESeg-Syd JeI|LUJs pue ‘yWe} eAOge
‘OSH Epesysur Wey) YAM dn jaeu Wed MOA UayA
SPUSUY ANOA 7x9] AUM ST¥d MNOA LNIOANId

NSM Y LNO Hid OL MOH

-nyeu 2 ayealo ay, “Way Ulm dn yaau 0}
Jals¥a tonul JeLY 9g P[nom qi ‘synoquereym
Spuaiwy anvk moury skemje nod fl yeyy
SL ap! oy) ‘sdunpowosquomy pur suas)
ye pojasiey ‘ouoyd gzgg awies ayy uma
pue yf oziowgne Aoty yeu) Suluinsse—oiu
SPUALl Ano Jo Aue siayen aes Os[e WED NO,
‘ouoyd aig ojur yping diyo (sdo) urayscs
Bujuoyrsod jeqoys ayy 0} suey) ‘uassosuo
dn sdod yey) deus v uo uoyedo] anos aay
os sya] }By) Uoovag Appng poeo ainjea;
¥ YA sows oa Woy suoyd yuq mau
@YL ‘JOY St Zupoagau jelous apiqoyy

‘Aqieau saoeyd pur ajdoad puy 0} hem Jaisea
ue ysnf S37 ‘o2eUQUsU Anas purUOH
aUlos 7.Ust sity] ‘Buidaays a4.nod Udyan UOAD
nok uo sye) #uidaax auoyd uno oaey
0) Adaaio waas Abul yt opty pity "yno Su
-Zuvy a1¥ spusLy nod a1OYyd 0} JUBANE)SOL
aSOUIYD Jsaivau oI wots BuryyALeca oj
nod yop uaty puke uoNed0] ANA yuoduId
Ayeonewoyne uvo syofped ssajaitm ysa}e]
Oyj ‘Uaaios [JEWS ay] 0} paloyiEy sada
-les jeoojiaddy puv ABojouyse) Zuid

-deul Jayjaq 0) syUBYE ‘pleye oq ruop
Ld ‘OA NU ONIASS S$] NOHd T1409 UNO

NO.LIAWYH ViINY 48

auoyd [[99 nod 0} JUa}U0 [BIO] AOATTOP 0} OIA

SULIT] SB POOYLOGYSIAU INOA OPI S9AOUL C'S FAM

JYsiJ 120.Ng SSEje.l/\\

‘ie

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 15 of 20

USA WEEKEND
Case 1:01-cv-12257-PBS Docu

Notice

UNITED STATES DISTRICT COURT

- Hf ¥ou Made or Are Obligated to Make
a Percentage Co-Payment or Full Payment
for the GSK Drugs:

Kytril Injectable (Granisetron HCL)

Zofran injectable (Ondansetron HCL}

or
Imitrex (Sumatriptan}
Lanoxin (Digoxin)
Naveibine (Vinorelbine jertrate)
Ventolin (Albuterol) or
Zovirax (Acyclovir)

Alkeran (Melphatan)

Kytril Tablets (Granisetron HCL)
Myleran (Busulfan)

Retrovir (Zidovudine)

Zofran Grals (Ondansetron HCL)

A Proposed Class Action Settlement May Affect Your Rights.
Medicare Part B Beneficiaries fort their Helts) are * Included

Proposed Sewlement with |
SK. ane of the Defendants

ina

sue Price Litigation. Docket No. 01-
BS. MDL No, b.

What Is the Class Action Lawsuit About?
ims thet cenwin deg come

ii] be Tesponsible
Fexpoaines,

| What Are My Legal Rights?

: © EE you wish to remi

Setrlement Chasses. ae
Bu

+ Youn

Class
You made cr 0
pr |

currentlh obligated fy make 4
entunder Medicare Pat By
listed above

«

You ane exchided from his Choss if You
arade Nat co-pas ments. er sou were reimburse
10 be reimbursed in fall for so

and postitarke
+ Ifyou do not wish to be 2 member of © her or
ty Avgust 16,

vi

wT NAVAN v
socked. 1 thayeure

wid a Tivcd or Bate

vou 7:

What Are the Terms of the Settlement?
GSK has agreed in “pay $ x 70 million to seule the:
iD fi

of the ren

ckims, Seventy perc

For a Notice of Proposed Class Action Settiement and a Claim Form
Cail toll-free: 1 888-568-7645 (Se Habla Espano}}

or Visit: www.GSiSettiement.com
Or Write: GSK AWF Litigation Administrator, c/o Complete Claim Solutions,
P.O. Box 24743, West Palm Beach, FL 33416

Buying a high-definition TV
is only Step One. Here’s a clear

picture of the next crucial steps.

HATS THE MATTER,

sour block seems ta

bunky?

position in join the horde adopting
this technology. According to Jupiter-

s Scott L. Brown, who
asenior VP uN n Media Research.
“There's good content available frum
feasters and premium providers.

dductions of 506 about

evs ive making the viewer's decision
to buy increasingly a ne-hrainer”

Of course. getting the fu
ence t imple us buying a high-
definition TV. You still peed io have an
antenna er a recciver to pick wp the
high-definition “ienal Many cable con-
ic e receiv 3
cu purchase

To cet that high-definition picture,
you'll also need an HD receiver or an
HD antenna to pick up the signal.

available cuntinnes to grow, HD is s
new technology dependent upon pro-
viders. channels and specific programs.
N shows are broadeast in high-det.
but most providers have HD packages
that inchude premium channels such us
HBO. Discovery. ESPN and TNT. The
networks are providing much of their
prime-time lineups in HD. and Fox pre-
sents all of its broadcast sports coverage

in HD. Check vour on-sereen

Tila

me roviders an extra Netallshowsare  auide for what's plaving. Pro-
month to S10 for broadcast in HB, grams that are broadcast in
the . high-tefinition have an AD icon
+ 2
ure in the moa But the list next to the title.
souped-up HD rece continues te grow. As standard-definition TVs

out the DireeTY Plas
HD DVR. or HR20 for short. With a lease

recerd ove programs — in HD
adard definition — while

fo hunction fur locating programs
i . As a bonus, if the HR2
connecied ia a phone vou ll be able
caller HG. Yes. when voir tele-
ube callers name and mon-
ilicde bex at the bottom

Screen.

ogra:

head for the land of the monv-
phonic record album and the audiocas-
sette, laok for creative minds to develop
new uses for HD format. For
Cemcast now offers subscribers
Player On Demand, a new service that
tums your HDTV sercen into a digital
Player, subscribers
paintings from more than
musetuzns. including works
from New York’s Museum of Modern
Ar and the Barnes Foundarion. that
will change eve ic and be accom-
panied by music. Images frum nature
and space also can be selected. And thats
just the beginning. oo

-— Jamie Malanowski

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 17 of 20

US NEWS &

WORLD REPORT
FEBRUARY 19, 2007

01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 18 of 20

Case 1

“ALU Tey) We WY) JepIsuod |]

RAD dU) ‘paalaszai Useq VARY 1199fqo 10 qi d
pure saaj sautone Joy UoNOW oY] pue ojenbope pue ‘ojquuosvaz
‘MnJ St juewajjag pesodoig ay) Jeyjoym Jopisuos 0} ‘wd Qp:z
1 2002 ‘61 AME uo Suto Jeaorddy feu @ ploy {TAs UMOD ONL
equaWaWYas pasodorg ay} aacuddy yn0> ay} TIM

. “Miauia|yas UOLoy
SSDID pasodorg fo a2110N Op UT POUTINO SB “L007 ‘ZZ UNL’ ULtp JIE]
OU paxreunsod pur pare si etn 439] & pues IsNU Mos ‘JUaWOD
Jo 19algo oJ, ‘fasmod apnyoxe 10U Op Nos JT }) Jo wed duos 10
quay ag pasoda.sg Spq) oy] 10u Op Nod Ff 1IN07 ay) [J9} UBD NOA «
“2007 ‘£7 AB] ue) Jae] OU paxeUysod oq Jsnu ysonber
ANOA “JuaWIT|YIS HOLY sso pasodozy fo a2uNeN aU) UL pauttINE
$8 LUO} LOIST}ONT 10,J sonboy & USIs IsNUI NOA “sassEl> JUDWNDIWIS:
JY JO YIOG LO LIYPO JO JYWAU B dq 07 Ys jOU Up AOA JT»
“£007 ‘82 ABIAL ueU) Jou; OL poxzeutysod pue pousis oy jsnw
SULO,] WIE|Z) “BIS Gay WIWAHIS WSH All] UO aqepIraz ose $1 1]
‘Joquunu 9d4j-[01 atp TutPeo Aq Jo ‘mojog Uoald ssoappe o1p) 28 ‘Tu
Ur JojeAsIufupy su ay Tugovjwos Ay Wo, ed uv
NOA "ULO, WIE-) & a1ajduiod wn NA “usTe]D B a]IY 0) Ysia NOK JT +

“uoutoplag amp Aq poraaaa
ae UY WSO Isurese oavy Aeus nos sures Auv dosp {jim OA suvaw
SULL “SdaPie S,Uuto:) ays [Je Aq punog 2q use No, ‘Wwewapas
posodoly oy) Jo siyousg olf dAlozo2 fm Nos “uaWANNAg posodorg
oui soaoudde unos op J] “MOO possnasip sa wlrE[o v OYJ ysNUT
nof pung juawapiag ay) ui azeys o) Ing “BuryAur op o] savy you up
NOA ‘sassel7) JUaNA NEG qjoq Jo Jaquiaw) S UBUTA. O} QSL NOL JT»

2s7y3qy 12989 AW aly RU

‘sosuddx pur sooy s,Aowone
wij 40J o1QIsuodso1 oq [pm NOA YoABMOZ “YsIM NOX JI ‘KoWOYWL
uso inok aiy Kew nog ‘sosuadxe Jo juewasinqwies snyd ‘puny
wauaMIag pasodog ayy Jo (CECE) Woood purip & pure doryy-AuT
PddDXKO o} JOU Soo} SoWIOYL Plum UIOD sup EY) SaNbaL [JM [asuNOZ
SHUI ‘Sassefr) ay puasaudas o7 sKewsone payutudde sey uned sf,

LOW syuasoidey ou,

“spury juOWaTag ay)
Jo uoppod t 105 YEH suede surre[o Noy sj0s 0) poorde oARY OYA
(SAHSL., 20 Sur]d Weey Suljweg yuapuadapuy,, 94) se Oo} poriayaa)
sloded A1seg-pally Jo dnoid yuepuadepur pure ojeredos B yo sroquoL
‘O3L Olas SIOINSUT JOLPO PUL WITE]D plea ke LUQNs OYM SAQA ssejD

(4lA0]9A2y/) xB1JA0Z

(a}e/We] auIq}aJoUlA) auyq}eaeN

OTVEE TY “Ypeag Wied SEM ‘ERLyZ XOg ‘O'd “SUOIIN}OS W]e) aJe}dWO}) O/9 YOJENS|U]WPY LONE dMY NSD ALMA

WOd"}UBWI}}ISISO' MMM JISIA 10 (Jouedsy EIQeH 9S) S792-895-888 T :394y-1]}0} 112)
W104 WIR) B puk JUaWA)}aS LON DY SSE] Pasodold Jo 33/}0N B 104

Jainsul Jo sute|9 ayy Aud 0] apise yes aq [1M puny Buurewor ayy Jo
(%0z) loosed Aueaeg “su PrTeA OFEW OY SIOUTNSUIOD 0} YstO
UL paingisip 99 [Tl puny Supurewas amp Jo (q%E) wacied Amy
. “SIOQUIOJAY SBI 0} SUOTINGLNSIP
a1OJaq PUN, JUSLTENEg a4) Wor, polonpep aq [fim ‘uaWENES
pasodusg ay) Zuvraisturupe Jo s1s0d ay) puR seay sowope se jam
SB ‘eIOUID sfoWONY d1eIg UTeHOO Oo} WoUAed UONTMU cpg Y 'SUTTETO
Pale[as Joyjo puv asoyj opes 0} Yoru Og Aed oy paa8e sey SH
2quawiaypes ay) Jo sua) ayy aly UM

‘yuawAed-oo yey 40 paxy z pred nod JI sse[p ouy un
Pepnfou! jou au, nox “uowAed-oo o8zjuaoad e seat uowtAEd MOK
(@) 40 ‘yay90d-jo-1no uNOUTE TINY AUP JO) (¥) sum juaUAAed INO;

DUP o00e “OL IsNnEny Oo} 166] ‘] ArenuEL
ay "Y LEd S2vaIpay,, JO apisyno saoge paysi] sPniq pousad:)
ISD auyp jo Aue 10) (Aed 01 payesyqo ApuaLma are 30) pled nox,

{FE SSBED) MOAB DJBAp_ OY) JO Jaquioul v av MOA «

*sjuawAed-o9 anv
4o} [|b UL pasinquitas aq 07 FL By) saul Jo pasinquujal atom
NOK Jo ‘swowAed-oo 1eL pel NOK Jr ssel> SIP Wo popnjoxa
me NO, ‘SON ‘| AWunuLL o2 | 6G] | Atenuer Woy (QuewArd-v>
¥ YONS SPELL UY BUOSWOS Oj SY UL BT JO) BADE pasty suc]
palo SH oy Jo <ue Joy gq weg BesIpoy! sopun juowAed
-09 adujuaosed v ayew oO} paIsigo Aung ay to apeu lua

TL Sse] JuawéGYg-07) JANaIpa]A] BY] JO JOqUIL E aUe MOA «

“BAOGE Pasi] SBMIq pasaaud WS
OU] 10) pred oym sJawnsuos PENpLAIpUt 10} SOBSBID-qNS OM) QUT dILT,
ésiaquay SS2]) dy SeNPlAIAU] IBY

“Stup au 10] sjuouXed-o9 opeut 10 pied
aya o[doad autos 0) sosutuup ASUOLL paemML 0) [NOT BUI SYSU INS]
SUL “MOUNSU] PUR sustuNsUUD ‘areoIpayy| Aq pled eze weyt saoud Brup
vondposoid jos 0) posn uoyjo oe sg y payodor ayy ‘s8rup ywanedino
Jo sodA; ureuso oy (ad MV,,) soond ojusajoym aBuseau popeyut
pue ose) popods saiuedtues Brup uieyes yey) suelo yInsAmey OUT,

dynogy ANsMeT UONsy sse}D 34) S| EY,

“9S? 1 “ON TOW 'S8d-£822 1-AD- [0 ON 194900,

‘MONOSIT] PIU ajusajoyyy adviaay Caysnpuy josunaowuuvyg 232
L eyi Jo SWUL BYL “SHasNYoussE) Jo IOLUSIC. 2) JO) NOD
POUPSICT “Sy Op Ul Burpuad yinsme] LONE sselD BUT SILEpUDyacT op JO
QUO '( ASO,,) SUP UMMUgOXVIH Ye ludWIa|NESg pasodoig v st soy],

Pepnyru] se (SHa} 1194] 10) SaueMyauEg g Weg aler1|pay
“SJUSIY ANOA Pay AeW yWAaWa}}aS UO! Sse] pasodolg y
(Wix08iq) ulxouey
(ueqdyewns) xesqjwy]

Jo (josayngjy) ujowwaA (1H UOAJaSURpUQ) SYBIQ UBYOZ (1H UOLJas|ueID) $}9)qeL [LAY
(eutpnaopiz) 41AqWay

(ueyjnsng) uewapAw

(uejeydjey) uesayy

(1DH UosjJasuepUg) ayqeyza{uy ueyoz
CDH Uosjas]uesd) apqeyealuy puyAy
SSM SH au} 10} JUaWAeY }}NY 410
quawAeg-07 aseyUaIII0q & oeW 0} pajesiqo aly 10 apeW NOA JI

SLLASNHOVSSV 10 LOMLLSIq ~— LUND LORLLSIG SALVLS CHINN:
eee eee reer reer reer eee eee errr ee

eon0y] Eda]

t

fe amea he nord

“DA “saqsaymunyy
“CW ‘AAATIO “MM SVINOHL

*19]S0J [[eO-to Woo AouaZioWa
UE UTe{UTEL 0} [00] JWATOLJo-1809 e [e)
-tdsoy ayy seats ay ‘suetoishyd ayesuad
-Wod 0} fam 8 IL [eqdsoy ary saptaoad
pure uenisdud pue perdsoy tog syyauaq
ureagoid ayy “Ua sy] 0} adlalos AUT
-Wwoo saHoledyd sazta8ooe2 yey} Wiese
-oid uoyesuaduios paLlajep, peusis
-op Ajanbrom e uy 3ugedinied sysipeioads
OSL Sey MoU OWL “900% UI palentur
“wie[qoud ade19A00-]]eo Wz Sty} 0} UONjos
jeaou 2 pazaauord ayy ‘y00% Ul 10}099
123Tpay] Joysayoul A 1e JUaptsaid yeys
[eotpau se uzza} Aw Sump 1 ys [eap
03 pey | ‘azayasaaa9 sjeqidsoy Aq pase
wa[qord [eogiis 8 uo Yodal Ajaury & seat
«iLVLS ‘NOADYNSOUNAN V TK LAD,

‘mY ‘Dyyado
“WW ‘NOLLYd TEVHOIW.

“14 5n jo tama,
éyeyp 103 dn uZis pynom oy “Buoim
Sao8 Juloos ji age] st ay ing “yual)
-ed ot] Aq pred 393 you yystur pue peqd
-s0y 34} Jo aafordwa predun ue se Zur
-yuom A[EQuassa S| ay ‘A104s aug ut paynys
$8 S[yeo 848} 0} [ezIdsoy ary Aq pred Zug
-309 j0U J ‘og “doNovid umo siy jou puy
teyidsoy uy jo yuase ue quawow yey, ye
‘SL ay sayeys Joy Jog] aaloy pus yuoUL
-Je01 | [eolpay AouaZsewg ayy ‘eudsoy
¥ Log [[eo AouaZaaura uo si uvtolshyd &
UdTAA ‘OSIOM 193 0} aNUIQUOD [ILM LO
-ENUS SIU, 's1¥ad Ma} }SE] at] 10J jOGe
spuatt} [eorpaurmou Aw Sutures usaq
AAT YY JO UOyLULAyUOD sUIODTOM
@ St sutoud AoUaBIeUa 1OJ systjetads
jo xR] arp wo [¢ Arensqoj~-6z Avenues]
alLVLS ‘NOADUNSOUNAN V AW LAD,

Wsno.ig 103909 YA

‘DIN ‘Bursdg saapeg
wugod ada

‘ajoy tadaap uaa
ue OU Bn SursZip uo yuoq st ysng
“uBIy YA Jem Ss} Ul beay papre uoly
-BIIS{ULWIpE Ueseay ay} BY} W9IIOSI09
OS[B SBY OFT ‘MOTNoOAaI DIWEIS] ay} 0}
pa] Yor ‘op 01 pasnjes ueWINIy JWOp
-Isalg Zuryjatos ‘avly jo jUaUUIaA0d
papata ayy seayyec0 UONaysTUTUpE
JaMoywas]y ayy E961 UL IVY] U9}08I0}
SABY 0} SWId9S OP ,,O} LAUT 0} ZuNGOU pip
am PYJWO [woLBo[oap] 38018 & pass
aA2M, ‘ples ysng juaptseig 'yosads
NOINA FHL 10 ALVLS 900% SIU NI

“DIY ‘DsoopDosh

SANOf ‘D GIvaday

‘sao Aue pip [prey uewnny, juapiserg
‘sigupled DOUITeoo ay) jo slaquow se
se [joa Se ‘ely pasezua oy o1ojaq ssas3

2002 "6 AUWNHOIJ * ROO'SM3NSI' MMA ¢ 10d3u C1NOM F SM3N'S'N v

-uod 043 yo [eaordde Ayofew oy) par
Ulessn]y] Weppes 0} SupwaeM jo suoH Ny;
-08ai [oto ALindag UaZOp B WEI alouL
pey ysng juepisosg ‘besy puy sey weer
-OY dU} ul SaouaIa}pIp ayy Uo saysoynuod
dt ar0joq Atojsty Apnys 0} spoou Joyeg
SSOU LSLLNAIOS TVOILITOd SUADLON

"aQ ‘psofpay
ATMULLS TAVHOIA

“THT Ata Yates
yonys Zuyjad ase 41 ayLUM [[LM OYA asoyy
eI Suaptsuos A[fepadse ‘pury eq 0}
AJayy] Jou s] Asoisty *JoZpngq sno uoly
aul 0} JOU ‘uoIE}Ndaa ano pur ‘sUOTy
-B[91 UZ1OIOJ Ano ‘A1BTLWI INO pszip
-aedoof svy oy] ‘oosey suyequuny e&
OWI pausing it yey} pauueld Ap100d os
uotsuaut Aigssaoautn uBR Joy Jioddns
Ayes 0} sapi0 ul ajdoad uestiawy 34)
pa[stu Ajajesaqijap ysng :espaymouy
WOULUTOd aWLODD |[LA YIN] ayy ‘autTy
4aag [yg Areniqaq-6% Arenuey’ ,“11p
~teq §,A10}S1H,,] bez] ut tum payej-[]i
‘pasiape-|[t sty Aq pauyap aq [jim ‘Ao
-NICISTUd SIH THT ‘AOVOTT S,HSAd

uosse7 Adee] ysng

oryQ ‘uopvivg
SQVS NaAdLS
jSUBOLIOUTY aatrept
2J0ug! 7,Upip ey) aupeay & yA dn
aulOd eary pynod nod AT
-21Ng ,‘SUBILIDULY SILT
ay, Paua Jaa0o ayy
uo yuug uyor dep
jo Zunuted ayy ves
OL GaSiHduns SVM 1

“"UDY ‘a7UaLaLY
Apsssmupn
SUOLIDN UD ypuy 1/980 H
NOSINVE VOORtAY
HLINS VIN¥d
MOO1WSH OL. LANOMS
‘anys Suyypns
Ul ue yons wos Urey
3 Pynoys suotszotqnd
papadsay ,,Safluts 218¢)
patiinjed smenbs ay} *** uautom ealjeu
[e4eavs peyods yeoq & ul siaq}O8
ueaes, “2-9 ‘posn oq 0} ,wenbs, axl]
SULIO}] aAIsUayo pawole Jeyy ,A}ds,
sty] Sti ,’IIds s,aotjyeu @ jo spas
oy} payuEld siapyjes umoysower ay,
{VY} WUswWas}E}s ay] O} SN spHaT SIL
.S[RaANjeU, snouasIpul Jaco souRMTWOp
uvodoing poziseydwia svy Aojsly ues
-Luly ‘A]]BUOlIpELL ‘JuaUUOD SII} Jo
suoleu TPUL a1 07 AyLANL L
queyElq oYeNYJadiad 0} poauepeq 10 WR
S] 1 @Agt[aq Jou Op ay ‘WhojBoUEL
uo jodas [etoads ayy ut sedAjoa103s
pue salioayy payepyno so uoLenuyucs

ay} Aq pauareaysip oom om ‘sarpnys
NVIGNI NVOIWANV 10 SINTCALS SV

osyo1y)
ssasSuog unniawp
“YSHOd ‘uaprsotd
ViInds ‘f ANY

“k10yo14 Apoads e
uoa pul 51431 [enba Joy ay12]5 3S1y 942
PeUy sasmmyoejnueu youd pur
Iv} puB sIOYBUIssy[s yYstjog wy
Auedwog euiZ1A 3} JO prove. 34)
Ul pejou sua I ,‘wOMeUry UI epeyy,
quisdwy ay) yim adoing 0} sjonpoid
WI ay) payodxe pue A10j0"j sse[d
ay uel safog “YG uyor ‘dup
JO SIIOWaU ay} Ul pauiayuod sem
yoryas ‘sayse deos pur ‘yoqtd ‘1e} ‘sse[s
OyBw O} pasty arom ABUL *BO9I ‘EO
Uo UMO SOWELL UL PIALiie CUM PUE[OY
tod siaqqos Jo dnoid yueyiodunt ue oy
dajai 07 payaargeu ynq sdnoiZ auyja
ANVW CUNOLLNAA ATIOILYY unos

sDway ‘sty sndog
avay VITINOG HAHLS

*SUIOOISSL]O JOY} UI 1 O}voydos pure
yovoidde mod aas [fi srayore} ‘Aqnjadozy
*UOZOL SL P[IOM dU} Jo yso4 OY] YZNOy.
S¥ UOE[OS! UL 3YZNe} Iv SyUBAa [EOI
-10]S1Y Wayo OOF *2,091 Ut A[snosuB][AUIIS
BuLtmov0 sjusaa Juasayrp ayy jo [pe
Butmoys 42, adeg uo deur ayy ATeadsa
‘uMmojsatEr UO SepOIIE
AHL dOd NOA MNVHL

“DL ‘DjOSDADy
NVILLTY AUT

‘waod suoyseiq jo uoly
-10A [Rolsnul s,uosdwroy,y,
[lepuey sesoduioo 0}
Suluaisy] of8 savas sp
Mog" WINLOpNe jooyos
ysiq & ut Buns aya
ajonb yey) piwoy Is1y
1 Canpqas pue oD,, pue
«SWOT 00} ABYs NOX ‘suo
“Wig, ‘Sour a[qeiowoUL
Jolpo omy ale paulonuaut
WON OSes, UBTULBILA
aut 01 apo, s,uoyteiq peutptp] jeod wog
al@sipered ATU sUed BTULBIIA, WIL
wVOIMZWY JO HLYId FHL, NVDOAE NOA

‘zy “‘Duopas
LLOOS HDAH

‘L.aatrey 30 pitom y,,] satane
apiapiiom Arerodurayioa Jo Aryseduy
ay] UII saSeutt jeoLtoysiy piaia asouy
paoryd YW asnesag aayeuLiojut Arpeived
-se seas (5 Areniqe,-6z Arenues] .A103¢
umojsoulys oy,L,, 4103s 19409 pipuajds
WNOA “IIVLAG 1MAUO1OD NI HOTU

Ausedey jeo1101SIH

Case 1:01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 19 of 20

US NEWS &

WORLD REPORT
FEBRUARY 26, 2007

01-cv-12257-PBS Document 4395-3 Filed 06/22/07 Page 20 of 20

Case 1

OTPEE TY ‘yea Wed ISeM ‘E72 XOd ‘Od I

“OUT IBY] Ie Warp JOpIsuos [|
yMo> oy] ‘paateval useq DART] suOnoalqo Jo syusuUIUD J] “sasuedxa
pure soy Shawne 10; UonOUT om pue ojenbepe pue ‘a[qeuosesr
‘ney St OMIATWeg pasodoig sy] zayyayR JOprsuod 0} “rd QO:Z
W L007 ‘61 Aig uo Supwop peaorddy eur v Ploy [Ita WED OL

Zuawaynes pasodoig ay) aroiddy yn0} 9y2 IM

‘qusUaTas uoNaY
ssny9 pasodois fo sonon at} Ul poummno se ‘207 ‘ZZ amp weLp 19,0)
ou payzeunsod pue poprew si yey Jena] # puos’sntd nox YuauLUCD
4o yoalgo oJ, ‘jfastnod opnyoxa jou op nod ji al yo ped eulos Jo
quatuanjag pasoduag siy) ax]}I0U Op MOA J} LINO: BY) []9} WD MOA «

‘2007 22 AuyAl unrp Joy] Ou poyTeuNsod aq ysnu isanbas
INGA “HuaUIapIay UO ss pasodosg fo a2uon! OTP UL poulNno
SB WLIO} LoIsn[oxg 30,] ianboy B UBIs Inu Nod ‘sassElD JUstHaMMeS
9UH Jo 170q 40 Jat}19 JO JaquIAW & aq OF YstA Jou up Nod Jy «

"L007 ‘82 481A] UBUD J9)B] OU poyTeUQSod pur pausis oq Jsntu
“DUS Gap IUSLUS[NEG HSH ou] Uo o[Qe]meae ose $l]
) 2t) Tory Aq to ‘Mosq WAALS syauppu stp ye “TonLn
w WuiUpYy sim oI Sar Aq wuo,| wie 8 jot ue

“momamas otp Aq posaaca
me WY) ASO Isurese oney Aew Nod suelo Aue doip []a\ NOA suval
SILL “suapio $,Lno;) ayy [Te Xq punog oq agye |[Ln wawapog
pasodoig ot) Jo sujauay etp saleeu ||IM WO uawomag pasodosg
ayn soaoidde amop op J] “moyeq pas! se Wmepo 8 OT nu
oA pun, yusweyag ay UT ays OF Jag “BuiyzAue op v) vavy Jou op
HOA 'SOSSUIZ) [UALIA}NIg YOY Jo LIQUIOTA B UTBUIAL 0) Ys NOA Jf +

28) yyy e807 AW auy FEUM

‘sustiodxa pure soay s Asutuye
jeu 10) a]qIsuodsoz 9q [[LM Ned ‘JoAVMOH, “YSIM NOK JI ‘AWE
umMo Inox auiy Av nog “sosuodxo Jo quswasinyluios suid ‘pany
quauopuag pasodosy ain jo (EE EE) wood pap & pur saup-AUIY)
pasoxa 0} JOU sagy ,sAawWoye purave Uno:D atp yetp sanbod |[IM Jasunoy)
S8BID ‘Sasse[ au) osoidor 0) sKowone paywiudde sey ynoD ayy,

Lay syuesoday ou

‘yputy IMsW9]H9g OYt
fo uomtod ¥ Ja) WOH IsUIEsE sure sIOLN apyas 0) pasude aauYy wYAA
GSdHS1, 20 .SUtId Waka} Sues wopuodapur,, oy] se 07 paitaza.)
siodtg Aueg-panyy jo dnosd yuapuadeput juiudas v jo sraquuoWw
‘ore OYM SJOMSUL J8UIO PUL WIE[D PLA & ITMIgNs oyM sraquraly Sse

JOS WyELD BYO}dWLO} o/>
WO2"}UaWAaPESNSO'MMM SIA 10 (joURdsA e)GeH BS) S792-89S-88S T 1923-101 )]2D
UO WHE} & pue JUaWIa}ag UO!}Iy Ssey) pasodold Jo a2/}0N E104

[UjUpY Yo)IeF AIT AY SD “1M 10

Jasnsuy jo surrejo ou Aed 0} opise Jos aq |[lm puny Susureutal at] Jo
(%0L) wassad AQusasg “sUTE]S plea OYEU! OY sIaWNSUOD 0} Ysed
TT poynginsip 3q [a puny SuruTewes ap Jo (gE) wacued Amy],

“SIXYWUDFA SSRI 0} SHOTINGLNSIP
Olojog puny WaUWls[ysg aq) woly polsnpap aq [lm “JUsWD|Nag
pasodorg oy) Suudsturupe Jo sisoo ou) pue sao] ,sKoWWONE se [fam
3B ‘|EIBUID SABWIONY O)eIG UTeyIs0 OF WoWAYd OLN Spy Y ‘sIUTEIO
Powwyou Jayjo pur asouy spas 0} BOTT QZ$ Aed 0) poatde sey SH

2UBUIR|HES 64) JO SUUA) BU) diy JEU,

uauked-09 yey Jo poxy ev pled nud Jl ssv[5 aut ul
Pepnyout yotoy nog ‘uowATd-oo aduyuoosod e sem juouAed snok
(q) 20 "yaxo0d-jo-Ino janoue [jNy BU 10) (e) sem uouIxEd Mo

BRE goz ‘01 wuBny 01 166] "1 Arenuer

WO " Meg aiLOIPs] Jo SpisINO DACgE pas] SBI PaaArod

ASO oN Jo Aue 10y (Aed oy paredyjgo Auouns oe Jo) pred nox,
{Jl SSB[D JAY JWALI OU JO JOQuIOW B aIw NOX «

‘susutAed-o9 nok
30) [[0y Wr posunquuro oq 0} IYSLI Ot saBY JO pasinqutias aoM
no< J0 ‘sjuourded-o> WY ape Nod M sse[D sMp Woy papnjoxa
ae NOx ‘SOO ‘1 Arenuer 01 1661 ‘| enue Woy Quoured-oa
B Yn Spe OYA SULDUIOS O} ItoY] Ue are JO) sAoge pels! sdruq
PalonoD WSH ap yo Aue soy gq weg oreorpoyy Japun iausAud
-o9 o8ujua0led & OFEOI O} paredijgo ApuaLmo am Jo spew no,
YE SSUL jUOLARY-07) a2Bo]PaJA] OU] JO JeqUOU BOIL NOA »
“DauyE Paist] SPC] PeH9A0D WSO
au) Jo) pred oym siatunsucs [unpLAlpul 10} Sosse|d-qns om) Oe DU9y
esuaqwiay SSE} Ay S}ENP{AIPUy BUM

“dup ouq Joy syuowtAed-oo ape Jo pred
oy afdoad amos 0) sadewep Asuoul preg 0} NOD ay} Sxse INSAL]
DILL ‘StoMSUL pue ssaWUNsTOS ‘oreaIpay Aq pred aue yup sooud Srup
uondizasard jos 01 pasn uayo or sd my povoda: ayy, ‘s8nup juanudjno
go sodA) ureyioo 40) (ad MV,,) S9oud oyesajoym a8eseae pore)jul
pue ss[v) powodas soiredutos Srp urepeo vy SuiTe;o YMsmMe] ULL

2hogy NSME] LOY SSE}} 942 51 ELA

‘9SP1 ‘ON “IC ‘SHd-Z$2Z1-AD"10 ‘ON 10390q
UN] alg aypsajoyuy, adnaay Kasnpuy jooyngovuuvyg $34
SMB] OUP JO DUTU DYL “SHOsNysessepy JO TOMINIC] al 10} ROD
TONISIC] ‘S'f) aN) O] Surpuod wnsmey UONSE ssupO U Ut s}opUaJag stp Jo
dO *( HSO,.) SUITMUAUgOXe|O YIM woursqag pasodory o St ax],

papn) du ae (SJa} A1U} 10) Soe; YauEg g Hed aedIpay
*s]YySiy ANO,A ayy Aew Juawa)}es YOY Sse} pasodold y

(UXOSIq) WxoUr]
(11A0]2A3¥y) XBULAOZ (uejds}ewWNs) xes};LU] (ueynsng) uesa AW
10 (JoJajNgly) UjOWWAA (1H VOMaSUePUC) SPIO UBYOZ (1H UO eSIUBID) Sya}qeL IAN
(ayesPE] BULG}aJOULA) BUjqaAeN (@u|PNAOp|Z) 1A0I9y (uEjeydjay) uesayy
40

(IDH UO.JeSUepUC) a]ge}9a!U} uejoz
(19H UOdJas|UeLD) ayqeyaful |L1IA)
:SBN1Q SO 24} 10) yualuAed }}N4 10
quawAeg-0) asejUdIUId B a eW 0} pajesiqo aly 10 BpeW NOA J]

SLLIESNHDVSSVI JO LOILSiQ -- LUNOD LORLLSIC, SULLV.LS§ GELLING}

DOPON [IAT

£002 ‘92 ABYNYEAT © WOD'SMANSITY MMM « LUOd2Y GUOM PSMAN'S'TI OF

e ‘Spiempy uyor jo VoMUeAUTad ay} UT
adessaul ZULA[IOptIN aty St eI L ,‘asurEYyo
[euoneunojsurs peau ay ‘ysnouo
jou alu agunyp [eyuauialog! pue sdaqs
Aqeg ‘s8utug (jeurs op 0} y@noua you st],
*parepop at] ,‘paafoaa oaky NOA jo |[e OYT]

‘T, WORE pjog IOj our set
praodd 94} plo} ay uaYm sasayo
MO2Ip s}UpIpPuLd ey], ‘sap
-njs S1Yy gL puog 03 SurAn 10s
-sajoad sorunf & aytf polo 31)
paureol pus yys UMop-toyng
anyq-1Ep sty jo saaaays ayy dn
payor ay ‘Le Avenues uo “EN

‘I9AQUEHY Ul oFa][0D YINoutyEG yw But
-yaau [TAY Wai} poyped v 0] ayods sprem
-PY Usa des[o sem Jey], "UONOAZ
‘sueiyyyod uo}
-Zuiysu 4 Jo }9S-puTU snownes [eULtott

DYy Woz] pazeseqly $[99} ay] “painpue
BAvY OS[e SUROLIOUTY AURUL JeYy Sasiio
sepAraae JO Spun ay) yt souottadxa
puprasiy Aprirey sty pure titty asus Ja0ued
jsbaiq YIM a[sZTLIYs [nysseoons s,.yIEq
-PZtTy OJLM Sty ‘(GQeyMoutos peodde yst]

‘JOpISINO UoISUIYSeN e@Assoisse
ue se ploy BulAejd onesooweq
GU} JO OPIS YS| @Y2 INO BulyeIs S| SH

-ndod sty ynosapun Av eulfoseD YLIONT
ULasnoy 1e[[OP-UOT]WA [Nw e UL saz]
ay yeuR pe} ay] YBno1) Buyeodde sureur
-O1 Plot} AB] BY} UL ssavons 0} SBuIUUTs
-9q O[qUINY WoL aS01 OYM JayIOA [UL

B Jo wos at se A104s [euOsiad stp] *suoot
syed sty Jo auo ‘Apauuay “yx uyor
Uta suosttuduios aster JOSIA pur ‘S900,
pood ‘yynod sypy ‘suosnf Butpensied
pue squouNndre Supjeut ye [[LIS s,1o£sB]
TRH] sty Yap ‘saquqop Uy {jem op plnoys

aH “wry 10y Zulo3 ssuryy
deyjo yeleaes sey splempy
“RULOYRPYO pur ‘eperan ‘ep
“HOLT ‘PILIOs HED Us StesterpuTy
ayeatid ye uy sry jo sou quads
yNq awoyfeoy uo saysaads
jo ajdnoo b cand oy ‘Yaa eT
“uBredureo snotias ¥ 10} papaau

winwiunn ayy Ajqeqoid ‘aead sy uoly
~[Fu S$ 04 UOT LUT Gps ast UO ey Shes
pue uonpaya [etaued ay} Ul ayepipura
d1qe}0a]8 WOU BY} aq Pom sy suMLE[D
Splempy F007 Ul 2194} UOM ay fJ0q sem

Lee

